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                                                                               December 12, 2022
                                                                              CLERK, U.S. DISTRICT COURT
                                                                              WESTERN DISTRICT OF TEXAS

              United States Court of Appeals                                                      klw
                                                                          BY: ________________________________
                                                                                                  DEPUTY

                   for the Fifth Circuit                         United States Court of Appeals
                                                                          Fifth Circuit


                                 ___________                            FILED
                                                                 October 19, 2022
                                  No. 21-50826                     Lyle W. Cayce
                                 ___________                            Clerk

   Community Financial Services Association of America,
   Limited; Consumer Service Alliance of Texas,

                                                         Plaintiffs—Appellants,

                                      versus

   Consumer Financial Protection Bureau; Rohit Chopra,
   in his official capacity as Director, Consumer Financial Protection Bureau,

                                            Defendants—Appellees.
                    ____________________________

                  Appeal from the United States District Court
                       for the Western District of Texas
                            USDC No. 1:18-CV-295
                   ____________________________

   Before Willett, Engelhardt, and Wilson, Circuit Judges.

                               JUDGMENT

         This cause was considered on the record on appeal and was argued by
   counsel.
         IT IS ORDERED and ADJUDGED that the judgment of the
   District Court is AFFIRMED IN PART, REVERSED IN PART and
   RENDERED.
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          IT IS FURTHER ORDERED that defendants-appellees pay to
   plaintiffs-appellants the costs on appeal to be taxed by the Clerk of this Court.




                                                    Certified as a true copy and issued
                                                    as the mandate on Dec 12, 2022
                                                    Attest:
                                                    Clerk, U.S. Court of Appeals, Fifth Circuit




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                                                                                WESTERN DISTRICT OF TEXAS

           United States Court of Appeals                                                        klw
                                                                           BY: ________________________________
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   Community Financial Services Association of America,
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   Consumer Financial Protection Bureau; Rohit Chopra,
   in his official capacity as Director, Consumer Financial Protection Bureau,

                                                         Defendants—Appellees.


                  Appeal from the United States District Court
                       for the Western District of Texas
                            USDC No. 1:18-CV-295 LY


   Before Willett, Engelhardt, and Wilson, Circuit Judges.
   Cory T. Wilson, Circuit Judge:
          “An elective despotism was not the government we fought for; but
   one which should not only be founded on free principles, but in which the
   powers of government should be so divided and balanced . . . , as that no one
   could transcend their legal limits, without being effectually checked and
   restrained by the others.” The Federalist No. 48 (J. Madison)
   (quoting Thomas Jefferson’s Notes on the State of Virginia (1781)). In
   particular, as George Mason put it in Philadelphia in 1787, “[t]he purse & the
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   sword ought never to get into the same hands.” 1 The Records of the
   Federal Convention of 1787, at 139–40 (M. Farrand ed. 1937). These
   foundational precepts of the American system of government animate the
   Plaintiffs’ claims in this action. They also compel our decision today.
          Community Financial Services Association of America and Consumer
   Service Alliance of Texas (the “Plaintiffs”) challenge the validity of the
   Consumer Financial Protection Bureau’s 2017 Payday Lending Rule. The
   Plaintiffs contend that in promulgating that rule, the Bureau acted arbitrarily
   and capriciously and exceeded its statutory authority. They also contend that
   the Bureau is unconstitutionally structured, challenging the Bureau
   Director’s insulation from removal, Congress’s broad delegation of authority
   to the Bureau, and the Bureau’s unique, double-insulated funding
   mechanism. The district court rejected these arguments.
          We agree that, for the most part, the Plaintiffs’ claims miss their mark.
   But one arrow has found its target: Congress’s decision to abdicate its
   appropriations power under the Constitution, i.e., to cede its power of the
   purse to the Bureau, violates the Constitution’s structural separation of
   powers. We thus reverse the judgment of the district court, render judgment
   in favor of the Plaintiffs, and vacate the Bureau’s 2017 Payday Lending Rule.
                                         I.
                                         A.
          In response to the 2008 financial crisis, Congress enacted the
   Consumer Financial Protection Act, 12 U.S.C. §§ 5481–5603. The Act
   created the Bureau as an independent regulatory agency housed within the
   Federal Reserve System. See id. § 5491(a). The Bureau is charged with
   “implement[ing]” and “enforce[ing]” consumer protection laws to
   “ensur[e] that all consumers have access to markets for consumer financial




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   products and services” that “are fair, transparent, and competitive.” Id.
   § 5511(a).
          Congress transferred to the Bureau administrative and enforcement
   authority over 18 federal statutes which prior to the Act were overseen by
   seven different agencies. See id. §§ 5512(a), 5481(12), (14). Those statutes
   “cover everything from credit cards and car payments to mortgages and
   student loans.” Seila Law LLC v. CFPB, 140 S. Ct. 2183, 2200 (2020). In
   addition, Congress enacted a sweeping new proscription on “any unfair,
   deceptive, or abusive act or practice” by certain participants in the
   consumer-finance industry.        12 U.S.C. § 5536(a)(1)(B).        “Congress
   authorized the [Bureau] to implement that broad standard (and the 18 pre-
   existing statutes placed under the agency’s purview) through binding
   regulations.” Seila Law, 140 S. Ct. at 2193 (citing 12 U.S.C. §§ 5531(a)–(b),
   5581(a)(1)(A), (b)).
          Congress placed the Bureau’s leadership under a single Director to be
   appointed by the President with the advice and consent of the Senate. 12
   U.S.C. § 5491(b)(1)–(2). The Director serves a term of five years, with the
   potential of a holdover period pending confirmation of a successor. Id.
   § 5491(c)(1)–(2). The Act originally limited the President’s ability to remove
   the Director, id. § 5491(c)(3), but the Supreme Court invalidated that
   provision while this litigation was pending, see Seila Law, 140 S. Ct. at 2197.
          The Director is vested with authority to “prescribe rules and issue
   orders and guidance, as may be necessary or appropriate to enable the Bureau
   to administer and carry out the purposes and objectives of the Federal
   consumer financial laws, and to prevent evasions thereof.” 12 U.S.C.
   § 5512(b)(1). This includes rules “identifying as unlawful unfair, deceptive,
   or abusive acts or practices” committed by certain participants in the
   consumer-finance industry. Id. § 5531(b).




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          The Bureau’s funding scheme is unique across the myriad
   independent executive agencies across the federal government. It is not
   funded with periodic congressional appropriations. “Instead, the [Bureau]
   receives funding directly from the Federal Reserve, which is itself funded
   outside the appropriations process through bank assessments.” Seila Law,
   140 S. Ct. at 2194. Each year, the Bureau simply requests an amount
   “determined by the Director to be reasonably necessary to carry out the”
   agency’s functions. Id. § 5497(a)(1). The Federal Reserve must then
   transfer that amount so long as it does not exceed 12% of the Federal
   Reserve’s “total operating expenses.” Id. § 5497(a)(1)–(2). For the first five
   years of its existence (i.e., 2010–2014), the Bureau was permitted to exceed
   the 12% cap by $200 million annually so long as it reported the anticipated
   excess to the President and congressional appropriations committees. Id.
   § 5497(e)(1)–(2).
                                        B.
          In 2016, Director Richard Cordray, who was appointed by President
   Barack Obama, proposed a rule to regulate payday, vehicle title, and certain
   high-cost installment loans (the “Payday Lending Rule”). After a public
   notice-and-comment period, Director Corday finalized the Payday Lending
   Rule in November 2017, during the first year of the Trump administration.
   See Payday, Vehicle Title, and Certain High-Cost Installment Loans, 82 Fed.
   Reg. 54472 (Nov. 17, 2017). The rule became effective on January 16, 2018,
   and had a compliance date of August 19, 2019. Id.
          The Rule had two major components, each limiting a practice the
   Bureau deemed “unfair” and “abusive.” See id. First, the “Underwriting
   Provisions” prohibited lenders from making covered loans “without
   reasonably determining that consumers have the ability to repay the loans
   according to their terms.” 12 C.F.R. § 1041.4 (2018); 82 Fed. Reg. at 54472.




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   The Underwriting Provisions have since been repealed and are not at issue in
   this appeal. See 85 Fed. Reg. 44382 (July 22, 2019).
          Second, and relevant here, the “Payment Provisions” limit a lender’s
   ability to obtain loan repayments via preauthorized account access. See 12
   C.F.R. § 1041.8. The Bureau determined that absent a new and specific
   authorization, it is “unfair and abusive” for lenders to attempt to withdraw
   payments for covered loans from consumers’ accounts after two consecutive
   withdrawal attempts have failed due to a lack of sufficient funds. Id. § 1041.7;
   82 Fed. Reg. at 54472. The Payment Provisions accordingly prohibit lenders
   from initiating additional payment transfers from consumers’ accounts after
   two consecutive attempts have failed for insufficient funds unless “the
   additional payment transfers are authorized by the consumer.” 12 C.F.R.
   § 1041.8(b)(1), (c)(1).
          The Payment Provisions cast a wide net. So long as the purpose of the
   attempted transfer is to collect payment due on a covered loan, the two-
   attempt limit applies to “any lender-initiated debt or withdrawal of funds
   from a consumer’s account.” Id. § 1041.8(a)(1). This includes checks, debit
   and prepaid card transfers, preauthorized electronic fund transfers, and
   remotely created payment orders. See id.; 82 Fed. Reg. at 54910.
          In April 2018, the Plaintiffs sued the Bureau on behalf of payday
   lenders and credit access businesses, seeking an “order and judgment
   holding unlawful, enjoining, and setting aside” the Payday Lending Rule.
   The Plaintiffs alleged that the rule exceeded the Bureau’s statutory authority
   and otherwise violated the Administrative Procedure Act (APA). They
   further alleged that the rule was invalid because the Act’s for-cause removal
   provision, self-funding mechanism, and delegation of rulemaking authority
   each violated the Constitution’s separation of powers.




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          Around this time, the Bureau, now led by Acting Director Mick
   Mulvaney, announced that it intended to engage in notice-and-comment
   rulemaking to reconsider the Payday Lending Rule. Due to that ongoing
   effort, the parties filed a joint request to stay both the litigation and the rule’s
   effective date. The district court entered a stay pending further order of the
   court. Cmty. Fin. Servs. Ass’n of Am., Ltd. v. CFPB, 2018 WL 6252409, at *2
   (W.D. Tex. Nov. 6, 2018).
          While the Bureau engaged in rulemaking, President Trump
   nominated and the Senate confirmed Kathleen Kraninger as Director,
   replacing Acting Director Mulvaney. In early 2019, the Bureau issued a
   proposed rule rescinding the Underwriting Provisions but leaving the
   Payment Provisions intact. 84 Fed. Reg. 4252. In July 2020, following the
   Supreme Court’s decision in Seila Law, the Bureau finalized its revised rule.
   85 Fed. Reg. 44382.         The Bureau simultaneously issued a separate
   “Ratification,” in which it “affirm[ed] and ratifie[d] the [P]ayment
   [P]rovisions of the 2017 [Payday Lending] Rule.” 85 Fed. Reg. 41905-02.
          In August 2020, the district court lifted the stay, and the Plaintiffs
   amended their complaint to challenge, among other things, the Bureau’s
   ratification of the Payment Provisions. Thereafter, the parties filed cross-
   motions for summary judgment.            The district court granted summary
   judgment for the Bureau on each of the Plaintiffs’ claims. Cmty. Fin. Servs.
   Ass’n of Am., Ltd. v. CFPB, 558 F. Supp. 3d 350 (W.D. Tex. 2021). The court
   concluded, inter alia, that: (1) the promulgating Director’s insulation from
   removal did not render the Payment Provisions void ab initio, id. at 358;
   (2) the Bureau’s “ratification of the Payment Provisions was a solution
   tailored to the constitutional injury sustained by the [Plaintiffs],” id. at 365;
   (3) the “Payment Provisions [were] consistent with the Bureau’s statutory
   authority and not arbitrary and capricious,” id.; (4) the Bureau’s self-funding
   mechanism did not violate the Appropriations Clause because it was



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   expressly authorized by statute, id. at 367; and (5) there was no nondelegation
   issue because the Bureau was vested with an “intelligible principle” to guide
   its discretion, id.
          The Plaintiffs now appeal. We allowed the Third-Party Payment
   Processors Association, a national non-profit association of payment
   processors and their banks, to appear as amicus curiae in support of the
   Plaintiffs’ arbitrary-and-capricious challenge.
                                         II.
          We “review a district court’s judgment on cross motions for summary
   judgment de novo, addressing each party’s motion independently, viewing
   the evidence and inferences in the light most favorable to the nonmoving
   party.” Morgan v. Plano Indep. Sch. Dist., 589 F.3d 740, 745 (5th Cir. 2009).
   Summary judgment is appropriate “if the movant shows that there is no
   genuine dispute as to any material fact and the movant is entitled to judgment
   as a matter of law.” Fed. R. Civ. P. 56(a). Constitutional issues are also
   reviewed de novo. Huawei Techs. USA, Inc. v. FCC, 2 F.4th 421, 434 (5th
   Cir. 2021).
          The Plaintiffs raise four overarching issues on appeal. They contend
   that the Payment Provisions of the Payday Lending Rule are invalid because:
   (1) the rule’s promulgation violated the APA; (2) the rule was promulgated
   by a Director unconstitutionally insulated from presidential removal; (3) the
   Bureau’s rulemaking authority violates the nondelegation doctrine; and
   (4) the Bureau’s funding mechanism violates the Appropriations Clause of
   the Constitution. We address each argument in turn.
                                         A.
          The APA instructs courts to “hold unlawful and set aside agency
   action[s]” that are “arbitrary, capricious, an abuse of discretion, or otherwise




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   not in accordance with law,” or “in excess of statutory jurisdiction,
   authority, or limitations.” 5 U.S.C. § 706(2). The Plaintiffs lodge two
   arguments under the APA. First, they contend that the Bureau exceeded its
   statutory authority by declaring more than two successive preauthorized
   withdrawals to be “unfair” and “abusive.” Second, they assert that the
   Payment Provisions are arbitrary and capricious in their entirety or,
   alternatively, as applied to two specific contexts—installment loans and debit
   and prepaid card payments.
                                         1.
          The Act grants the Bureau broad authority to prescribe rules
   prohibiting “unfair, deceptive, or abusive acts or practices in connection with
   any transaction with a consumer for a consumer financial product or service,
   or the offering of a consumer financial product or service.” 12 U.S.C.
   § 5531(b). This authority is not without limitation, however. Congress
   included specific definitions that govern when an act or practice may be
   deemed “unfair,” id. § 5531(c)(1), or “abusive,” id. § 5531(d). And unless
   those definitions are met, the Bureau “shall have no authority” to regulate
   conduct on either ground. See id. § 5531(c)–(d).
          In devising the Payment Provisions, the Bureau assessed the statutory
   definitions and determined that it was both “unfair” and “abusive” for
   lenders to attempt additional withdrawals from consumers’ accounts after
   two consecutive attempts failed due to insufficient funds unless the lender
   acquired “new and specific authorization.” 12 C.F.R. § 1041.7; see also 82
   Fed. Reg. at 54472. The Plaintiffs assert that the Bureau lacked authority to
   regulate the number of unsuccessful withdrawal attempts because this
   practice falls outside the Act’s definitions of “unfair” and “abusive.”




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           Our review begins (and ends) with unfairness. 1 Under the Act, an act
   or practice is “unfair” if “the Bureau has a reasonable basis to conclude that
   [1] the act or practice causes or is likely to cause substantial injury to
   consumers [2] which is not reasonably avoidable by consumers; and [3] such
   substantial injury is not outweighed by the countervailing benefits to
   consumers or to competition.”             12 U.S.C. § 5531(c)(1).         The Bureau
   evaluated each element in its 2017 rulemaking record and concluded that the
   proscribed practice satisfied all three. The Plaintiffs challenge only the first
   two elements on appeal.
           As to the first, the Bureau determined that lenders’ excessive
   withdrawal attempts cause or are likely to cause consumers substantial injury
   in the form of repeated fees, including insufficient fund fees, overdraft fees,
   and lender-imposed return fees. 82 Fed. Reg. at 54732–34. It also found that
   “consumers who experience two or more consecutive failed lender payment
   attempts appear to be at greater risk of having their accounts closed by their
   account-holding institution.” Id. at 54734. The Plaintiffs do not dispute the
   occurrence or substantiality of these injuries. Rather, they challenge the
   Bureau’s finding that the proscribed practice either causes or is likely to
   cause them. The Plaintiffs assert that “[c]onsumers’ banks—not lenders—
   cause failed-payment fees or bank-account closures” because they are the
   ones who “impose, collect, or otherwise control [them].”
           We are unpersuaded.          The presence of an “independent causal
   agent[]” does not “erase the role” lenders play in bringing about the
   contemplated harm. FTC v. Neovi, Inc., 604 F.3d 1150, 1155 (9th Cir. 2010).


           1
             Because we ultimately conclude that the Bureau acted within its statutory
   authority in deeming the proscribed practice unfair, we do not address the alternative
   ground of abusiveness. See 12 U.S.C. § 5531(b) (authorizing the Bureau to prescribe rules
   regulating practices that are “unfair,” “abusive,” or both).




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   Though not the “most proximate cause,” a lender’s repeated initiation of
   unsuccessful payment transfers is both a but-for and a proximate cause of any
   resulting fees or closures. FTC v. Wyndham Worldwide Corp., 799 F.3d 236,
   246 (3d Cir. 2015) (“[The fact] that a company’s conduct was not the most
   proximate cause of an injury generally does not immunize liability from
   foreseeable harms.”).
           The Plaintiffs also challenge the Bureau’s finding that these injuries
   are not reasonably avoidable by consumers. Few courts have meaningfully
   addressed this second element of “unfairness” under the Act. E.g., CFPB v.
   Navient Corp., No. 3:17-CV-101, 2017 WL 3380530, at *20–21 (M.D. Pa.
   Aug. 4, 2017); CFPB v. D & D Mktg., No. CV 15-9692, 2016 WL 8849698, at
   *10 (C.D. Cal. Nov. 17, 2016); CFPB v. ITT Educ. Servs., Inc., 219 F. Supp.
   3d 878, 916–17 (S.D. Ind. 2015). In doing so, these courts relied on our sister
   circuits’ interpretations of “reasonably avoidable” from the analogous
   standard in the Federal Trade Commission Act (FTCA). See 15 U.S.C.
   § 45(n). 2 We do the same. 3
           To determine whether an injury was “reasonably avoidable” under
   the FTCA, courts generally “look to whether the consumers had a free and
   informed choice.” Neovi, 604 F.3d at 1158; accord Am. Fin. Servs. Ass’n v.


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              Section 45(n) provides that the Federal Trade Commission “shall have no
   authority . . . to declare unlawful an act or practice on the grounds that such act or practice
   is unfair unless the act or practice causes or is likely to cause substantial injury to consumers
   which is not reasonably avoidable by consumers themselves and not outweighed by
   countervailing benefits to consumers or to competition.”
           3
             Looking to the FTCA for guidance, we remain mindful of one important
   distinction: The Act requires only that the Bureau have “a reasonable basis to conclude
   that” the proscribed practice “is not reasonably avoidable by consumers,” 12 U.S.C.
   § 5531(c)(1) (emphasis added), while the FTCA includes no such qualifier, see 15 U.S.C.
   § 45(n). In other words, while we find the standards to be analogous, the Bureau is perhaps
   afforded more deference in its determination than would be afforded under the FTCA.




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   FTC, 767 F.2d 957, 976 (D.C. Cir. 1985). “An injury is reasonably avoidable
   $!*).0( -.B#1 - .*)/*)/$$+/ the impending harm and the means
   to avoid it,’ or if consumers are aware of, and are reasonably capable of
   pursuing, potential avenues toward mitigating the injury after the fact.”
   Davis v. HSBC Bank Nev., N.A., 691 F.3d 1152, 1168–69 (9th Cir. 2012)
   (quoting Orkin Exterminating Co. v. FTC, 849 F.2d 1354, 1365–66 (11th Cir.
   1988)). The Plaintiffs contend that consumers can reasonably avoid injury
   associated with successive withdrawal attempts by (1) “not authorizing
   automatic withdrawals,” (2) “sufficiently funding [their] account[s],”
   (3) “negotiating revised payment options,” (4) “invoking [their] rights
   under federal law to issue stop-payment orders or rescind account access,”
   or (5) “declining to take out the loan” and “pursuing alternative[] sources of
   credit.”
          Each of these concerns was raised during the public comment period
   of the Bureau’s rulemaking process. See, e.g., 82 Fed. Reg. at 54736–37. The
   Bureau found none of them sufficient to constitute a reasonable means of
   avoiding injury. Id. at 54737. The rulemaking record prefaces that many
   borrowers resort to payday loans because they are in financial distress and
   lack other viable options for financing. Id. at 54571, 54735. Addressing the
   Plaintiffs’ first point, the Bureau explained that since “leveraged payment
   mechanisms” are “a central feature of these loans,” borrowers typically do
   not have the ability to shop for loans without them. Id. at 54737. The Bureau
   also found that simply funding their accounts is not a reasonable means for
   borrowers to avoid injury because “[m]any borrowers [do] not have the
   funds” after two unsuccessful withdrawal attempts, and “subsequent
   [withdrawals] can occur very quickly, often on the same day, making it
   difficult to ensure funds are in the right account before the [next withdrawal]
   hits.” Id. For the same reason, the Bureau found negotiating repayment




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   options to be too slow a solution to mitigate against fees incurred on
   additional withdrawal attempts. See id. at 54736–37.
          Regarding the Plaintiffs’ fourth point, the Bureau explained that costs,
   “[c]omplexities in payment processing systems[,] and the internal
   procedures of consumers’ account-holding institutions, combined with
   lender practices, often make it difficult for consumers to stop payment or
   revoke authorization effectively.” Id. Finally, the Bureau concluded that
   “the suggestion that a consumer can simply decide not to participate in the
   market is not . . . a valid means of reasonably avoiding the injury.” Id. at
   54737. By that logic, the Bureau reasoned, “no market practice could ever
   be determined to be unfair.” Id.
          The Bureau’s explanations are fully fleshed out in the Payday Lending
   Rule’s 519-page rulemaking record, where they are supported by a variety of
   data and industry-related studies. Reviewing that record as it undergirds the
   Payment Provisions, we find the Bureau had “a reasonable basis to
   conclude” that the harms associated with three or more unsuccessful
   withdrawal attempts are “not reasonably avoidable by consumers.” 12
   U.S.C. § 5531(c)(1). Because the proscribed practice thus satisfies the
   elements of an “unfair” practice under the Act, we conclude that the Bureau
   acted within its statutory authority in promulgating the Payment Provisions.
                                         2.
          Next, the Plaintiffs contend that the Payment Provisions are arbitrary
   and capricious, either as a whole or as applied. “The APA’s arbitrary-and-
   capricious standard requires that agency action be reasonable and reasonably
   explained. Judicial review under that standard is deferential, and a court may
   not substitute its own policy judgment for that of the agency.” FCC v.
   Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021). Still, we must ensure
   that an agency “examine[s] the relevant data and articulate[s] a satisfactory




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   explanation for its action including a rational connection between the facts
   found and the choice made.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State
   Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (quotation omitted). A rule
   is arbitrary and capricious if the agency relied on “impermissible factors,
   failed to consider important aspects of the problem, offered an explanation
   for its decision that is contrary to the record evidence, or is so irrational that
   it could not be attributed to a difference in opinion or the result of agency
   expertise.” BCCA Appeal Grp. v. U.S. EPA, 355 F.3d 817, 824 (5th Cir.
   2003).
            Here, the Plaintiffs first contend that the Payment Provisions are
   arbitrary and capricious in their entirety because they rest on stale data from
   four-to-five years prior to their promulgation, and the Bureau failed to
   consider the provisions’ important countervailing effects. As to the first
   point, the Plaintiffs forfeited their stale data argument by failing to raise it in
   the district court. See Rollins v. Home Depot USA, Inc., 8 F.4th 393, 398 (5th
   Cir. 2021). And forfeiture aside, the Bureau offered a reasoned explanation
   in its 2017 rulemaking record for relying on data collected from 2011–2012.
   See 82 Fed. Reg. at 54722, 54729.
            As to the second point, the only countervailing effect the Plaintiffs
   allege the Bureau failed to consider is “the increased likelihood that a loan
   will enter into collections sooner than it would have (if it would have at all).”
   But the Bureau persuasively responds that “[i]f the borrower is unable to
   obtain the funds, it is unclear why the borrower (or the lender) would be
   better off if the lender could initiate failed withdrawal attempts—and, in the
   process, pile additional fees onto the borrower—before the loan enters
   collections.” Even if the Payment Provisions’ limit on repeated withdrawal
   attempts might send some loans to collections sooner, that possibility is not
   so “important” that the Bureau had to consider it specifically. See Motor
   Vehicle Mfrs., 463 U.S. at 43 (explaining “an agency rule would be arbitrary



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   and capricious if the agency . . . entirely failed to consider an important
   aspect of the problem”).
           Turning to their as-applied challenge, the Plaintiffs assert that the
   Payment Provisions are arbitrary and capricious as applied to debit and
   prepaid card payments and as to separate installments of multi-payment
   installment loans. Amicus joins them with respect to debit and prepaid cards.
   Together, they contend that the Payment Provisions “arbitrarily treat[] debit
   and prepaid card payments the same as check and [account clearinghouse]
   payments, even though the former do not give rise to the fees that, in the
   Bureau’s assessment, justify the Rule.”
           The Bureau acknowledged in the rulemaking record that debit and
   prepaid card transactions “present somewhat less risk of harm to
   consumers,” but it declined to exclude them for several reasons. 82 Fed.
   Reg. at 54750. For one, the Bureau found that though failed debit and prepaid
   card transactions may not trigger insufficient fund fees, “some of them do
   trigger overdraft fees, even after two failed attempts.” Id. And as with other
   payment-transfer methods, consumers would still be subject to “return
   payment fees and late fees charged by lenders.” Id. at 54723, 54734. The
   Bureau also explained that a carve out for these transactions “would be
   impracticable to comply with and enforce.”                     Id. at 54750.         These
   considerations suffice to establish a “rational connection between the facts
   found and choice made.” Motor Vehicle Mfrs., 463 U.S. at 43 (quotation
   omitted). Therefore, the Payment Provisions are not arbitrary and capricious
   as applied to debit and prepaid card transfers. 4



           4
             The Plaintiffs also contend that “the denial of [Advance Financial’s] rulemaking
   petition seeking amendment of the [Payday Lending] Rule to exclude debit and prepaid
   card payments was arbitrary and capricious.” But just as it was not arbitrary and capricious
   for the Bureau initially to include these payment types within the rule, it was not arbitrary




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           Similarly, we cannot say that the Bureau acted arbitrarily and
   capriciously by extending the Payment Provisions’ two-attempt limit across
   all scheduled installment payments on the same loan. The Plaintiffs contend
   that the Bureau failed to support its decision with “reasoned analysis or
   record evidence.” But again, the rulemaking record proves otherwise. Citing
   its own study, the Bureau explained that a third withdrawal attempt, even as
   applied to a different scheduled payment, would still likely fail “even if two
   weeks or a month has passed.” 82 Fed. Reg. at 54753. The Bureau also found
   that “the tailoring of individualized requirements for each discrete payment
   practice would add considerable complexity to the rule.” Id. Further, the
   Bureau determined that distinguishing between re-presentments of the same
   payment and new presentments for new installments would invite evasion by
   lenders. The Bureau referenced a rule imposed by the National Automated
   Clearinghouse        Association       (NACHA),           a    self-governing       private
   organization, that is similar to the Payment Provisions (except that it only
   applies after three attempts). See id. at 54728–29. The Bureau noted that the
   NACHA rule’s distinction between attempts to collect a new payment and
   re-initiation of a prior one had led companies to manipulate data fields so that
   it would appear as if a withdrawal attempt was for a new installment. See id.
   at 54728 n.985 & 54729.
           In sum, we conclude that the Payment Provisions are not arbitrary and
   capricious, either in their entirety or in their two contested applications. As
   Plaintiffs fail to show that the Payday Lending Rule’s promulgation violated



   and capricious for the Bureau to deny a rulemaking petition asking for their exemption.
   This is especially true considering the “extremely limited and highly deferential” standard
   under which we review an agency’s “[r]efusal[] to promulgate rules.” Massachusetts v.
   EPA, 549 U.S. 497, 527–28 (2007) (internal quotation marks omitted) (quoting Nat’l
   Customs Brokers & Forwarders Ass’n. of Am., Inc. v. United States, 883 F.2d 93, 96 (D.C. Cir.
   1989)).




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   the APA, summary judgment in favor of the Bureau on this claim was
   warranted.
                                          B.
          The Plaintiffs next contend that the Payment Provisions must be
   invalidated because the Payday Lending Rule was initially promulgated by a
   director who was unconstitutionally shielded from removal.
                                          1.
          The Act states that the Bureau’s Director may be removed only “for
   inefficiency, neglect of duty, or malfeasance in office.”            12 U.S.C.
   § 5491(c)(3). In Seila Law, the Court held that this limitation on the
   President’s removal power violated the Constitution’s separation of powers.
   140 S. Ct. at 2197. But the Court declined to find that the Director’s
   unconstitutional insulation from removal rendered the remainder of the Act
   invalid. Id. at 2208–11. Instead, the Court concluded that the infirm removal
   provision was severable and remanded the case for a determination of the
   appropriate relief. Id. at 2211.
          Like Seila Law, Collins v. Yellen, 141 S. Ct. 1761 (2021), involved a
   challenge to actions taken by an independent agency, the Federal Housing
   Finance Agency (FHFA), that was headed by a single officer removable only
   for cause. See 141 S. Ct. at 1784. The Collins petitioners asserted that the
   FHFA Director’s for-cause removal protection violated the separation of
   powers, and therefore the agency actions at issue “must be completely
   undone.” Id. at 1787. The Court agreed that the for-cause removal provision
   was unconstitutional, finding Seila Law “all but dispositive.” Id. at 1783. But
   it refused to hold that an officer’s insulation from removal, by itself, rendered
   all agency action taken under that officer void. Id. at 1787–88. Unlike cases
   “involv[ing] a Government actor’s exercise of power that the actor did not
   lawfully possess,” the Court explained, a properly appointed officer’s




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   insulation from removal “does not strip the [officer] of the power to
   undertake the other responsibilities of his office.” Id. at 1788 & n.23. Thus,
   to obtain a remedy, the challenging party must demonstrate not only that the
   removal restriction violates the Constitution but also that “the
   unconstitutional removal provision inflicted harm.” Id. at 1788–89.
           While the Plaintiffs acknowledge Collins, they argue the case is
   distinguishable on several grounds. None are persuasive.
           First, they assert that Collins applies only to retrospective relief. But
   Collins did not rest on a distinction between prospective and retrospective
   relief. As the Sixth Circuit recently explained, Collins’s remedial inquiry
   “focuse[d] *)2# /# -B#-(C*0-- /#/2*0'- / ) )/$/' ( )/
   to a remedy, rather than the nature of the remedy, and our determination as
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   the same whether the petitioner seeks retrospective or prospective relief.”
   Calcutt v. FDIC, 37 F.4th 293, 316 (6th Cir. 2022). 5
           The Plaintiffs also contend that Collins “does not apply to rulemaking
   challenges.” This distinction is similarly without a difference. To the
   contrary, in Collins, the Court explicitly stated that “the unlawfulness of the
   removal provision does not strip the Director of the power to undertake the
   other responsibilities of his office.” 141 S. Ct. at 1788 n.23. Because the
   Bureau’s Director’s “other responsibilities” include rulemaking, see 12
   U.S.C. §§ 5511(a), 5512(b), Collins is directly on point, and the Plaintiffs




           5
              Collins originally involved claims for both prospective and retrospective relief.
   141 S. Ct. at 1780. By the time the case reached the Supreme Court, the challengers’ claims
   for prospective relief were moot. Id. Therefore, the Court articulated its remedial analysis
   in terms of retrospective relief. See id. at 1788–89.




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   must demonstrate that the unconstitutional removal provision caused them
   harm.
                                           2.
           Joining the issue, the Plaintiffs assert that “even if Collins does inform
   the analysis here, its framework plainly requires setting aside the [Payment
   Provisions]” because the Plaintiffs have made a sufficient showing of harm.
   As noted above, after Collins, a party challenging agency action must show
   not only that the removal restriction transgresses the Constitution’s
   separation of powers but also that the unconstitutional provision caused (or
   would cause) them harm. 141 S. Ct. at 1789. The Court chose to remand
   Collins’s remedy question and stopped short of articulating a precise
   statement as to how a party may prove harm. See id. at 1788–89. Instead, the
   Collins majority concluded with several hypotheticals:
           Although an unconstitutional provision is never really part of
           the body of governing law (because the Constitution
           automatically displaces any conflicting statutory provision
           from the moment of the provision’s enactment), it is still
           possible for an unconstitutional provision to inflict
           compensable harm.           And the possibility that the
           unconstitutional restriction on the President’s power to
           remove a Director . . . could have such an effect cannot be ruled
           out. Suppose, for example, that the President had attempted to
           remove a Director but was prevented from doing so by a lower
           court decision holding that he did not have “cause” for
           removal. Or suppose that the President had made a public
           statement expressing displeasure with actions taken by a
           Director and had asserted that he would remove the Director if
           the statute did not stand in the way. In those situations, the
           statutory provision would clearly cause harm.
   Id.




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            We distill from these hypotheticals three requisites for proving harm:
   (1) a substantiated desire by the President to remove the unconstitutionally
   insulated actor, (2) a perceived inability to remove the actor due to the infirm
   provision, and (3) a nexus between the desire to remove and the challenged
   actions taken by the insulated actor. This is borne out by the concurring
   Justices’ opinions as well. See id. at 1792–93 (Thomas, J., concurring); id. at
   1801 (Kagan, J., concurring in part); id. at 1803 n.1 (Sotomayor, J., concurring
   in part and dissenting in part). As Justice Kagan emphasized, “plaintiffs
   alleging a removal violation are entitled to injunctive relief—a rewinding of
   agency action—only when the President’s inability to fire an agency head
   affected the complained-of decision.” Id. at 1801 (Kagan, J., concurring in part)
   (emphasis added).
            It is thus not enough, as the Plaintiffs would have us hold, for a
   challenger to obtain relief merely by establishing that the unconstitutional
   removal provision prevented the President from removing a Director he
   wished to replace. As we read Collins, to demonstrate harm, the Plaintiffs
   must show a connection between the President’s frustrated desire to remove
   the actor and the agency action complained of. See id. at 1789. Without this
   showing, the Plaintiffs could put themselves in a better place than otherwise
   warranted, by challenging decisions either with which the President agreed,
   or of which he had no awareness at all. Id. at 1802 (Kagan, J., concurring in
   part).
            Applying Collins’s framework, we conclude the Plaintiffs fail to show
   that the Act’s removal provision inflicted a constitutional harm. Though
   they state “[i]t is uncontested that, but for the later-invalidated removal
   restriction, President Trump would have replaced [Director] Cordray before
   he finalized the [Payday Lending Rule],” their only support for this assertion
   consists of a few carefully selected statements from Director Cordray’s book,
   see, e.g., Richard Cordray, Watchdog: How Protecting



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   Consumers Can Save Our Families, Our Economy, and
   Our Democracy 185 (2020) (“[T]he threat that I would be fired as soon
   as President Trump took office loomed over everything.”), and an online
   article, see Kate Berry, In Tell-All, Ex-CFPB Chief Cordray Claims Trump
   Nearly Fired Him, American Banker (Feb. 27, 2020) https://www.
   americanbanker.com/news/in-tell-all-ex-cfpb-chief-cordrayclaims-trump-
   nearly-fired-him (stating “President Trump was advised to hold off on firing
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   cause’ provision”).
          These secondhand accounts of President Trump’s supposed
   intentions are insufficient to establish harm. The Director’s subjective belief
   that his firing might be imminent does not in itself substantiate that the
   President would have removed the Director but for the unconstitutional
   removal provision.      Regardless, the record before us plainly fails to
   demonstrate any nexus between the President’s purported desire to remove
   Cordray and the promulgation of the Payday Lending Rule or, specifically,
   the Payment Provisions. In short, nothing the Plaintiffs proffer indicates
   that, but for the removal restriction, President Trump would have removed
   Cordray and that the Bureau would have acted differently as to the rule.
          Because the Plaintiffs have failed to demonstrate harm, we need not
   address the Bureau’s alternative argument that any alleged harm was cured
   by Director Kraninger’s ratification of the Payment Provisions. See CFPB v.
   CashCall, Inc., 35 F.4th 734, 743 (9th Cir. 2022) (finding “it unnecessary to
   consider ratification” where the challenger could not establish harm).
   Summary judgment in favor of the Bureau on this claim was proper.
                                          C.
          We next consider the Plaintiffs’ argument that the Bureau’s
   rulemaking authority violates the Constitution’s separation of powers by




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   running afoul of the nondelegation doctrine. 6 The Constitution provides that
   “[a]ll legislative Powers herein granted shall be vested in a Congress of the
   United States.” U.S. Const. art. I, § 1. Inherent in “that assignment of
   power to Congress is a bar on its further delegation.” Gundy v. United States,
   139 S. Ct. 2116, 2123 (2019) (plurality opinion). “Under the nondelegation
   doctrine, Congress may not constitutionally delegate its legislative power to
   another branch of government.” United States v. Jones, 132 F.3d 232, 239
   (5th Cir. 1998) (citing Mistretta v. United States, 488 U.S. 361, 372 (1989)).
           But the Supreme Court has long delimited this general principle: “So
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   which the person or body authorized to [act] is directed to conform, such
   legislative action is not a forbidden delegation of legislative power.’” Touby
   v. United States, 500 U.S. 160, 165 (1991) (quoting J.W. Hampton, Jr., & Co.
   v. United States, 276 U.S. 394, 409 (1928)). It is “constitutionally sufficient
   if Congress clearly delineates the general policy, the public agency which is
   to apply it, and the boundaries of this delegated authority.” Am. Power &
   Light Co. v. SEC, 329 U.S. 90, 105 (1946); see also Gundy, 139 S. Ct. at 2129
   (explaining that “[t]hose standards . . . are not demanding”).
           Through the Act, Congress gave the Bureau authority “to prescribe
   rules . . . identifying as unlawful unfair, deceptive, or abusive acts or
   practices.” 12 U.S.C. § 5531(b). This constituted a delegation of legislative
   power because “the lawmaking function belongs to Congress.” Loving v.
   United States, 517 U.S. 748, 758 (1996). The question is whether Congress


           6
              For the first time on appeal, the Plaintiffs also argue that Congress violated the
   nondelegation doctrine by delegating its appropriations power to the Bureau. This
   argument is distinct from the Plaintiffs’ Appropriations Clause challenge, which was raised
   in the district court and which we address infra in II.D. Because the Plaintiffs did not raise
   their appropriations-based nondelegation argument in the district court, it is forfeited on
   appeal. See Rollins, 8 F.4th at 398.




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   also “supplied an intelligible principle to guide the [Bureau’s] discretion.”
   Gundy, 139 S. Ct. at 2123.
          The Plaintiffs assert that “[t]here is no intelligible principle” behind
   the Bureau’s “vague and sweeping” rulemaking authority. We disagree. In
   the Act, Congress articulated its general policy preferences, established the
   Bureau as the agency to apply them, and set boundaries—albeit broad ones—
   on the Bureau’s rulemaking authority. Am. Power & Light Co., 329 U.S. at
   105. Given that the Supreme Court “has over and over upheld even very
   broad delegations,” Gundy, 139 S. Ct. at 2129, the Act’s delegation of
   rulemaking authority to the Bureau passes muster.
          Congress’s general policy is distilled in the Bureau’s purpose and
   objectives.   12 U.S.C. § 5511(a)–(b).     The Bureau’s “purpose” is “to
   implement and, where applicable, enforce Federal consumer financial law
   consistently for the purpose of ensuring that all consumers have access to
   markets for consumer financial products and services and that markets for
   consumer financial products and services are fair, transparent, and
   competitive.”    Id. § 5511(a).     That purpose is accompanied by five
   “objectives” toward which “[t]he Bureau is authorized to exercise its
   authorit[y.]” Id. § 5511(b). One of those is to “ensur[e] that . . . consumers
   are protected from unfair, deceptive, or abusive acts and practices.” Id.
   § 5511(b)(2). In line with that objective, Congress empowered the Bureau to
   “prescribe rules applicable to a covered person or service provider
   identifying as unlawful unfair, deceptive, or abusive acts or practices in
   connection with any transaction with a consumer for a consumer financial
   product or service, or the offering of a consumer financial product or
   service.” Id. § 5531(b). Congress then circumscribed that authority by




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   including specific criteria that must be met before the Bureau can label a
   practice “unfair” or “abusive.” See id. § 5531(c)–(d). 7
           Far from an “open-ended delegation” that offers “no guidance
   whatsoever,” Jarkesy v. SEC, 34 F.4th 446, 462 (5th Cir. 2022) (emphasis
   omitted), Congress’s grant of rulemaking authority to the Bureau was
   accompanied by a specific purpose, objectives, and definitions to guide the
   Bureau’s discretion. This was more than sufficient to confer an “intelligible
   principle.” See Whitman v. Am. Trucking Ass’n, 531 U.S. 457, 474–75 (2001)
   (compiling the various directives the Supreme Court has deemed sufficient
   to constitute an “intelligible principle”).
                                               D.
           Finally, the Plaintiffs contend that the Payday Lending Rule is invalid
   because the Bureau’s funding structure violates the Appropriations Clause
   of the Constitution and the separation of powers principles enshrined in it.
   Though the constitutionality of the Bureau has been heavily litigated, this
   issue has yet to be definitively resolved. In Seila Law, the Supreme Court
   determined that the Act’s presidential removal restriction violated the
   Constitution’s separation of powers, but the Court did not confront whether


           7
             We discussed the statutory elements of “unfairness” supra in II.A.1. It was
   unnecessary to address “abusiveness” there. See supra n.1. For reference here, an act or
   practice is “abusive” if it
           (1) materially interferes with the ability of a consumer to understand a term
           or condition of a consumer financial product or service; or (2) takes
           unreasonable advantage of—(A) a lack of understanding on the part of the
           consumer of the material risks, costs, or conditions of the product or
           service; (B) the inability of the consumer to protect the interests of the
           consumer in selecting or using a consumer financial product or service; or
           (C) the reasonable reliance by the consumer on a covered person to act in
           the interests of the consumer.
   12 U.S.C. § 5531(d).




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   the Bureau’s unique funding scheme does. 140 S. Ct. at 2197. And a majority
   of this court recently concluded that the issue was not properly before us in
   another case challenging the Bureau’s structure and authority. See CFPB v.
   All Am. Check Cashing, Inc., 33 F.4th 218, 220 & n.2 (5th Cir. 2022) (en banc).
   However, Judge Jones, in a magisterial separate opinion joined by several
   of our colleagues, disagreed and addressed the parties’ Appropriations
   Clause challenge. See id. at 221 (Jones, J., concurring). Methodically
   analyzing the question, she concluded that the Bureau’s funding mechanism
   contravenes the Constitution’s separation of powers. Id. at 242.
          The issue is squarely raised here. We reach the same conclusion.
                                           1.
          Our “system of separated powers and checks and balances established
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   safeguard against the encroachment or aggrandizement of one branch at the
   expense of the other.’” Morrison v. Olson, 487 U.S. 654, 693 (1988) (quoting
   Buckley v. Valeo, 424 U.S. 1, 122 (1976)). “If there is one aspect of the
   doctrine of Separation of Powers that the Founding Fathers agreed upon, it
   is the principle, as Montesquieu stated it: B*+- 1 )//# 0. *!+*2 -6$/
   is necessary that by the very disposition of things, power should be a check to
   power.’” United States v. Cox, 342 F.2d 167, 190 (5th Cir. 1965) (Wisdom,
   J., concurring) (quoting Baron de Montesquieu, The Spirit of
   the Laws bk. XI, ch. IV (1772)). On that foundation, the Framers erected
   the three branches of government—legislative, executive, and judicial—and
   endowed each with “the necessary constitutional means and personal
   motives to resist encroachments of the others.” The Federalist No.
   51 (J. Madison); see U.S. Const. art. I, § 1; id. art. II, § 1, cl. 1; id. art. III,
   § 1.




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           Drawing on the British experience, the Framers “carefully
   separate[d] /#  B+0-. C !-*( /#  B.2*-C 4 ..$")$)" /* *)"- .. )
   Congress alone the power of the purse.” Tex. Educ. Agency v. U.S. Dep’t of
   Educ., 992 F.3d 350, 362 (5th Cir. 2021). 8 The Framers’ reasoning was
   twofold. First, they viewed Congress’s exclusive “power over the purse” as
   an indispensable check on “the overgrown prerogatives of the other branches
   of the government.” The Federalist No. 58 (J. Madison). Indeed,
   “the separation of purse and sword was the Federalists’ strongest rejoinder
   to Anti-Federalist fears of a tyrannical president.” Josh Chafetz,
   Congress’s Constitution, Legislative Authority and
   the Separation of Powers 57 (2017).
           The Framers also believed that vesting Congress with control over
   fiscal matters was the best means of ensuring transparency and accountability
   to the people. See The Federalist No. 48 (J. Madison) (“[T]he
   legislative department alone has access to the pockets of the people.”). 9 As


           8
            As Alexander Hamilton explained, the powers of “the sword and the purse”
   should never be placed
           in either the Legislative or Executive, singly; neither one nor the other
           shall have both; because this would destroy that division of powers on
           which political liberty is founded, and would furnish one body with all the
           means of tyranny. But when the purse is lodged in one branch, and the
           sword in another, there can be no danger.
   2 The Works of Alexander Hamilton 61 (Henry Cabot Lodge ed., 1904).
   George Mason expressed the same sentiment, advising his colleagues at the Philadelphia
   Convention that “[t]he purse & the sword ought never to get into the same hands.” 1 The
   Records of the Federal Convention of 1787, at 139–40 (M. Farrand ed. 1937).
           9
            See also 3 The Records of the Federal Convention of 1787, at 149–
   50 (M. Farrand ed. 1937) (statement of James McHenry) (“When the Public Money is
   lodged in its Treasury there can be no regulation more consist[e]nt with the Spirit of
   Economy and free Government that it shall only be drawn forth under appropriation by
   Law and this part of the proposed Constitution could meet with no opposition as the People
   who give their Money ought to know in what manner it is expended.”).




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   James Madison explained, the “power over the purse may, in fact, be
   regarded as the most complete and effectual weapon with which any
   constitution can arm the immediate representatives of the people, for
   obtaining a redress of every grievance, and for carrying into effect every just
   and salutary measure.” The Federalist No. 58 (J. Madison). 10
           The     text    of    the    Constitution      reflects    these     foundational
   considerations. First, even before enumerating how legislation becomes law
   (i.e., passage by both houses of Congress and presentment to the President
   for signature), the Constitution provides that “[a]ll Bills for raising Revenue
   shall originate in the House of Representatives . . . .” U.S. Const. art. I,
   § 7, cl. 1. It then grants the general authority “[t]o lay and collect Taxes”
   and spend public funds for various ends—the first power positively granted
   to Congress by the Constitution. Id. art. I, § 8, cl. 1. Importantly though,
   that general grant of spending power is cabined by the Appropriations Clause
   and its follow-on, the Public Accounts Clause: “No money shall be drawn
   from the Treasury, but in Consequence of Appropriations made by Law; and
   a regular Statement and Account of the Receipts and Expenditures of all
   public Money shall be published from time to time.” Id. art. I, § 9, cl. 7.




           10
               Indeed, popular accountability for the expenditure of public funds was so
   important that an earlier draft of the Constitution restricted the power to originate
   appropriations to the House of Representatives: “[A]ll Bills for raising or Appropriating
   Money, and for fixing the Salaries of the Officers of the Government of the United States
   shall originate in the first Branch of the Legislature of the United States, and shall not be
   altered or amended by the second Branch; and that no money shall be drawn from the public
   Treasury but in Pursuance of Appropriations to be originated by the first Branch.” 2 The
   Records of the Federal Convention of 1787, at 129–34 (M. Farrand ed. 1937).
   Although not carried forward in the Appropriations Clause as ratified, this procedure is
   well-established in Congressional custom, which requires general appropriations bills to
   originate in the House of Representatives. Clarence Cannon, Cannon’s
   Procedure in the House of Representatives 20, § 834 (4th ed. 1944).




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          The    Appropriations     Clause’s    “straightforward     and    explicit
   command” ensures Congress’s exclusive power over the federal purse. OPM
   v. Richmond, 496 U.S. 414, 424 (1990). Critically, it makes clear that “[a]ny
   exercise of a power granted by the Constitution to one of the other branches
   of Government is limited by a valid reservation of congressional control over
   funds in the Treasury.” Id. at 425. Of equal importance is what the clause
   “takes away from Congress:           the option not to require legislative
   appropriations prior to expenditure.” Kate Stith, Congress’ Power of the
   Purse, 97 Yale L.J. 1343, 1349 (1988). Given that the executive is forbidden
   from unilaterally spending funds, the actual exercise by Congress of its power
   of the purse is imperative to a functional government. The Appropriations
   Clause thus does more than reinforce Congress’s power over fiscal matters;
   it affirmatively obligates Congress to use that authority “to maintain the
   boundaries between the branches and preserve individual liberty from the
   encroachments of executive power.” All Am. Check Cashing, 33 F.4th at 231
   (Jones, J., concurring).
          The Appropriations Clause thus embodies the Framers’ objectives of
   maintaining “the necessary partition among the several departments,” The
   Federalist No. 51 (J. Madison), and ensuring transparency and
   accountability between the people and their government. The clause’s role
   as “a bulwark of the Constitution’s separation of powers” has been
   repeatedly affirmed. U.S. Dep’t of Navy v. Fed. Lab. Rels. Auth., 665 F.3d
   1339, 1347 (D.C. Cir. 2012) (Kavanaugh, J.); see id. (“The Appropriations
   Clause prevents Executive Branch officers from even inadvertently
   obligating the Government to pay money without statutory authority.”)
   (citations omitted); see also, e.g., Sierra Club v. Trump, 929 F.3d 670, 704 (9th
   Cir. 2019) (“The Appropriations Clause is a vital instrument of separation of
   powers . . . .”); City of Chicago v. Sessions, 888 F.3d 272, 277 (7th Cir. 2018)
   (discussing the power of the purse as an important aspect of the separation




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   of powers created by “[t]he founders of our country”); United States v.
   McIntosh, 833 F.3d 1163, 1175 (9th Cir. 2016) (“The Appropriations Clause
   plays a critical role in the Constitution’s separation of powers among the
   three branches of government and the checks and balances between them.”).
   As Justice Story said:
          The object is apparent upon the slightest examination. It is to
          secure regularity, punctuality, and fidelity, in the
          disbursements of the public money . . . . If it were otherwise,
          the executive would possess an unbounded power over the
          public purse of the nation; and might apply all its moneyed
          resources at his pleasure. The power to control and direct the
          appropriations, constitutes a most useful and salutary check
          upon profusion and extravagance, as well as upon corrupt
          influence and public peculation.
   2 Joseph Story, Commentaries on the Constitution of
   the United States § 1348 (3d ed. 1858). Justice Scalia similarly
   observed that, while the requirement that funds be disbursed in accord with
   Congress’s dictate and Congress’s alone may be inconvenient, “clumsy,” or
   D$) !!$$ )/6E$/D- !' /N.OB#-#*$ . . . . consciously made by men who
   had lived under a form of government that permitted arbitrary governmental
   acts to go unchecked.’” NLRB v. Noel Canning, 573 U.S. 513, 601–02 (2014)
   (Scalia, J., concurring) (quoting INS v. Chadha, 462 U.S. 919, 959 (1983)). In
   short, the Appropriations Clause expressly “was intended as a restriction
   upon the disbursing authority of the Executive department.” Cincinnati Soap
   Co. v. United States, 301 U.S. 308, 321 (1937).
                                         2.
          All that in mind, we turn to the Bureau’s structure. The Bureau
   “wields vast rulemaking, enforcement, and adjudicatory authority over a
   significant portion of the U.S. economy.” Seila Law, 140 S. Ct. at 2191.
   “The agency has the authority to conduct investigations, issue subpoenas




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   and civil investigative demands, initiate administrative adjudications, and
   prosecute civil actions in federal court.” Id. at 2193. The Bureau “may seek
   restitution, disgorgement, and injunctive relief, as well as civil penalties of up
   to $1,000,000 (inflation adjusted) for each day that a violation occurs.” Id.
   Unlike nearly every other administrative agency, Congress placed this
   “staggering amalgam of legislative, judicial, and executive power in the hands
   of a single Director” rather than a multimember board or commission. All
   Am. Check Cashing, 33 F.4th at 221–22 (Jones, J., concurring); see 12 U.S.C.
   § 5491(b).
           Most anomalous is the Bureau’s self-actualizing, perpetual funding
   mechanism. While the great majority of executive agencies rely on annual
   appropriations for funding, the Bureau does not. See 12 U.S.C. § 5497(a).
   Instead, each year, the Bureau simply requisitions from the Federal Reserve
   an amount “determined by the Director to be reasonably necessary to carry
   out” the Bureau’s functions. 11 Id. The Federal Reserve must grant that
   request so long as it does not exceed 12% of the Federal Reserve’s “total
   operating expenses.” 12 U.S.C. § 5497(a)(1)–(2). 12 The funds siphoned by


           11
             As noted, in addition to the funds it draws from the Federal Reserve, the Bureau
   is empowered to impose significant monetary penalties through administrative
   adjudications and civil actions. 12 U.S.C. § 5565(a)(2). Those penalties, when levied, are
   deposited into a “Civil Penalty Fund,” expenditures from which are restricted “for
   payments to the victims of activities for which civil penalties have been imposed under the
   Federal consumer financial laws.” Id. § 5497(d)(1)–(2). “To the extent that such victims
   cannot be located or such payments are otherwise not practicable, the Bureau may use such
   funds for the purpose of consumer education and financial literacy programs.” Id.
   § 5497(d)(2). As Civil Penalty Fund balances cannot be used to defray the Bureau’s general
   expenses, they do not factor into our analysis here.
           12
              This is no insubstantial amount. In fiscal year 2022, for example, the Bureau
   could demand up to $734 million from the Federal Reserve. Consumer Financial
   Protection Bureau, Annual performance plan and report, and budget overview (Feb. 2022),
   https://files.consumerfinance.gov/f/documents/cfpb_performance-plan-and-
   report_fy22.pdf.




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   the Bureau, in effect, reduce amounts that would otherwise flow to the
   general fund of the Treasury, as the Federal Reserve is required to remit
   surplus funds in excess of a limit set by Congress.                   See 12 U.S.C.
   § 289(a)(3)(B).
           The Bureau thus “receives funding directly from the Federal Reserve,
   which is itself outside the appropriations process through bank
   assessments.” Seila Law, 140 S. Ct. at 2194; see 12 U.S.C. § 5497(a). 13 So
   Congress did not merely cede direct control over the Bureau’s budget by
   insulating it from annual or other time limited appropriations. It also ceded
   indirect control by providing that the Bureau’s self-determined funding be
   drawn from a source that is itself outside the appropriations process—a
   double insulation from Congress’s purse strings that is “unprecedented”
   across the government. All Am. Check Cashing, 33 F.4th at 225 (Jones, J.,
   concurring). And where the Federal Reserve at least remains tethered to the
   Treasury by the requirement that it remit funds above a statutory limit,
   Congress cut that tether for the Bureau, such that the Treasury will never
   regain one red cent of the funds unilaterally drawn by the Bureau.
           This novel cession by Congress of its appropriations power—its very
   obligation “to maintain the boundaries between the branches,” id. at 231—
   is in itself enough to give grave pause. But Congress went to even greater
   lengths to take the Bureau completely off the separation-of-powers books.
   Indeed, it is literally off the books: Rather than hold funds in a Treasury
   account, the Bureau maintains “a separate fund, . . . /#  Bʪ0- 0 *!



           13
             The Federal Reserve is funded through interest earned on the securities it owns
   and assessments the agency levies on banks within the Federal Reserve system. Federal
   Reserve, The Fed Explained: What the Central Bank Does, at 4 (2021),
   https://www.federalreserve.gov/aboutthefed/files/the-fed-explained.pdf; see also 12
   U.S.C. § 243.




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   Consumer Financial Protection Fund,’” which “shall be maintained and
   established at a Federal [R]eserve bank.” 12 U.S.C. § 5497(b)(1). This fund
   is “under the control of the Director,” and the monies on deposit are
   permanently available to him without any further act of Congress. Id.
   § 5497(c)(1). Thus, contra the Federal Reserve, id. § 289(a)(3)(B), the
   Bureau may “roll over” the self-determined funds it draws ad infinitum.
           To underscore the point, the Act explicitly states that “[f]unds
   obtained by or transferred to the Bureau Fund shall not be construed to be
   Government funds or appropriated monies.”                    Id. § 5497(c)(2).       To
   underscore it again, Congress expressly renounced its check “as a restriction
   upon the disbursing authority of the Executive department,” Cincinnati
   Soap, 301 U.S. at 321, by legislating that “funds derived from the Federal
   Reserve System . . . shall not be subject to review by the Committees on
   Appropriations of the House of Representatives and the Senate.” Id.
   § 5497(a)(2)(C).
           So the Bureau’s funding is double-insulated on the front end from
   Congress’s appropriations power. And Congress relinquished its jurisdiction
   to review agency funding on the back end. In between, Congress gave the
   Director its purse containing an off-books charge card that rings up
   “[un]appropriated monies.” Wherever the line between a constitutionally
   and unconstitutionally funded agency may be, this unprecedented
   arrangement crosses it.14           The Bureau’s perpetual insulation from




           14
             JUDGE JONES emphasized the perpetual nature of the funding mechanism and
   opined that an appropriation must be time-limited. See All Am. Check Cashing, 33 F.4th at
   238 (“[T]he separation of powers idea underlying the Framers’ assignment of fiscal
   matters to Congress requires a time limitation for appropriations to the executive
   branch.”). We need not decide whether perpetuity of funding alone would be enough to
   render the Bureau’s funding mechanism unconstitutional. Rather, the Bureau’s funding




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   Congress’s appropriations power, including the express exemption from
   congressional review of its funding, renders the Bureau “no longer
   dependent and, as a result, no longer accountable” to Congress and,
   ultimately, to the people. All Am. Check Cashing, 33 F.4th at 232 (Jones, J.,
   concurring); see id. at 234 (detailing examples showing that the Bureau’s
   “lack of accountability is not just a theoretical worry”). By abandoning its
   “most complete and effectual” check on “the overgrown prerogatives of the
   other branches of the government”—indeed, by enabling them in the
   Bureau’s case—Congress ran afoul of the separation of powers embodied in
   the Appropriations Clause. See The Federalist No. 58 (J. Madison).
           The constitutional problem is more acute because of the Bureau’s
   capacious portfolio of authority. “It acts as a mini legislature, prosecutor,
   and court, responsible for creating substantive rules for a wide swath of
   industries, prosecuting violations, and levying knee-buckling penalties
   against private citizens.” Seila Law, 140 S. Ct. at 2202 n.8. And the
   “Director’s      newfound       presidential     subservience       exacerbates      the
   constitutional     problem[]      arising    from     the    [Bureau’s]      budgetary
   independence.”        All Am. Check Cashing, 33 F.4th at 234 (Jones, J.,
   concurring). An expansive executive agency insulated (no, double-insulated)
   from Congress’s purse strings, expressly exempt from budgetary review, and
   headed by a single Director removable at the President’s pleasure is the
   epitome of the unification of the purse and the sword in the executive—an
   abomination the Framers warned “would destroy that division of powers on
   which political liberty is founded.” 2 The Works of Alexander
   Hamilton 61 (Henry Cabot Lodge ed., 1904).




   scheme—including the perpetual funding feature—is so egregious that it clearly runs afoul
   of the Appropriations Clause’s requirements.




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          The Bureau’s arguments to the contrary are unconvincing. First, it
   contends that there is no constitutional infirmity because its funding scheme
   was enacted by Congress. In essence, the Bureau contends that because
   Congress spun the agency’s funding mechanism into motion when it passed
   the Act, voila!—the Appropriations Clause is satisfied. The Bureau’s
   argument misreads not only Supreme Court precedent but also the plain text
   of the Appropriations Clause.
          Start with the clause’s text: “No money shall be drawn from the
   Treasury, but in Consequence of Appropriations made by law.” U.S. Const.
   art I, § 9, cl. 7 (emphasis added).        A law alone does not suffice—an
   appropriation is required. Otherwise, why not simply travel under the general
   procedures for enacting legislation provided elsewhere in Article I? The
   answer is that spending only “in Consequence of Appropriations made by
   law” is additive to mere enabling legislation; appropriations are required to
   meet the Framers’ salutary aims of separating and checking powers and
   preserving accountability to the people. The Act itself tacitly admits such a
   distinction in its decree that “[f]unds obtained by or transferred to the
   Bureau Fund shall not be construed to be . . . appropriated monies.” 12
   U.S.C. § 5497(c)(2). We take Congress at its word. But that is the rub.
          The Bureau relies on the Supreme Court’s statement that the
   Appropriations Clause “means simply that no money can be paid out of the
   Treasury unless it has been appropriated by an act of Congress.” Richmond,
   496 U.S. at 424 (quoting Cincinnati Soap, 301 U.S. at 321). But neither
   Richmond nor Cincinnati Soap purported definitively to map the contours of
   the Appropriations Clause. Regardless, Congress’s mere enactment of a law,
   by itself, does not satisfy the clause’s requirements. Otherwise, the Bureau’s
   position means that no federal statute could ever violate the Appropriations
   Clause because Congress, by definition, enacts them. As discussed supra, our
   Constitution’s structural separation of powers teaches us that cannot be so.



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   Cf. New York v. United States, 505 U.S. 144, 182 (1992) (“The Constitution’s
   division of power among the three branches is violated where one branch
   invades the territory of another, whether or not the encroached-upon branch
   approves the encroachment.”).
           The converse argument, that Congress can alter the Bureau’s
   perpetual self-funding scheme anytime it wants, curing any infirmity, is
   likewise unavailing. “Congress is always capable of fixing statutes that
   impinge on its own authority, but that possibility does not excuse the
   underlying constitutional problems. Otherwise, no law could run afoul of
   Article I.” All Am. Check Cashing, 33 F.4th at 238 (Jones, J. concurring); cf.
   PHH Corp. v. CFPB, 881 F.3d 75, 158 (D.C. Cir. 2018) (en banc) (Henderson,
   J., dissenting) (“[A]n otherwise invalid agency is no less invalid merely
   because the Congress can fix it at some undetermined point in the future.”),
   abrogated on other grounds by Seila Law, 140 S. Ct. 2183.
           The Bureau also contends that because every court to consider its
   funding structure has deemed it constitutionally sound, we should too. 15 But
   carefully considering those decisions, we must respectfully disagree with
   their conclusion. Those courts found the constitutional scale tipped in the
   Bureau’s favor based largely on one factor: a handful of other agencies are
   also self-funded. For instance, the D.C. Circuit emphasized that “Congress
   has consistently exempted financial regulators from appropriations: The
   Federal Reserve, the Federal Deposit Insurance Corporation, the Office of


           15
              See, e.g., PHH Corp., 881 F.3d at 95–96; CFPB v. Citizens Bank, N.A., 504 F.
   Supp. 3d 39, 57 (D.R.I. 2020); CFPB v. Fair Collections & Outsourcing, Inc., No. 8:19-cv-
   2817, 2020 WL 7043847, at *7-9 (D. Md. Nov. 30, 2020); CFPB v. Think Finance LLC, No.
   17-cv-127, 2018 WL 3707911, at *1-2 (D. Mont. Aug. 3, 2018); CFPB v. Navient Corp., No.
   3:17-cv-101, 2017 WL 3380530, at *16 (M.D. Pa. Aug. 4, 2017); CFPB v. ITT Educ. Services,
   Inc., 219 F. Supp. 3d 878, 896-97 (S.D. Ind. 2015); CFPB v. Morgan Drexen, Inc., 60 F. Supp.
   3d 1082, 1089 (C.D. Cal. 2014).




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   the Comptroller of the Currency, the National Credit Union Administration,
   and the Federal Housing Finance Agency all have complete, uncapped
   budgetary autonomy.” PHH Corp., 881 F.3d at 95.
           Such a comparison, focused only on whether other agencies possess a
   degree of budgetary autonomy, mixes apples with oranges.                       Or, more
   accurately, with a grapefruit. Even among self-funded agencies, the Bureau
   is unique. The Bureau’s perpetual self-directed, double-insulated funding
   structure goes a significant step further than that enjoyed by the other
   agencies on offer. And none of the agencies cited above “wields enforcement
   or regulatory authority remotely comparable to the authority the [Bureau]
   may exercise throughout the economy.” All Am. Check Cashing, 33 F.4th at
   237 (Jones, J., concurring); see also William Simpson, Above Reproach: How
   the Consumer Financial Protection Bureau Escapes Constitutional Checks &
   Balances, 36 Rev. Banking & Fin. L. 343, 367–69 (2016). 16 Taken
   together, the Bureau’s express insulation from congressional budgetary
   review, single Director answerable to the President, and plenary regulatory
   authority combine to render the Bureau “an innovation with no foothold in


           16
             Neither is the Bureau’s structure comparable to mandatory spending programs
   such as Social Security. The Bureau self-directs how much money to draw from the
   Federal Reserve; the Social Security Administration (SSA) exercises no similar discretion.
   Compare 12 U.S.C. § 5497(a)(1) (creating Bureau funding mechanism) with 42 U.S.C. § 415
   (setting parameters for Social Security benefit levels). Quite to the contrary, SSA pays
   amounts Congress has determined to beneficiaries whom Congress has identified. See 42
   U.S.C. § 415 (identifying amounts); 42 U.S.C. § 402 (identifying eligible individuals). The
   Executive Branch’s power over “automatic” Social Security spending is therefore purely
   ministerial. Furthermore, Congress retains control over the SSA via the agency’s annual
   appropriations. See, e.g., Social Security Administration, Justification
   of Estimates for Appropriations Committees | Fiscal Year 2023
   (2022), https://www.ssa.gov/budget/FY23Files/FY23-JEAC.pdf.                 Other benefits
   payments, including Medicare and Medicaid, the Supplemental Nutrition Assistance
   Program, and Temporary Assistance for Needy Families, are administered similarly by
   agencies subject to annual appropriations set by Congress.




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   history or tradition.” Seila Law, 140 S. Ct. at 2202. It is thus no surprise that
   the Bureau “brought to the forefront the subject of agency self-funding, a
   topic previously relegated to passing scholarly references rather than front-
   page news.” Charles Kruly, Self-Funding and Agency Independence, 81 Geo.
   Wash. L. Rev. 1733, 1735 (2013).
          We cannot sum up better than Judge Jones did:
          [T]he [Bureau]’s argument for upholding its funding
          mechanism admits no limiting principle. Indeed, if the
          [Bureau]’s funding mechanism is constitutional, then what
          would stop Congress from similarly divorcing other agencies
          from the hurly burly of the appropriations process? . . . [T]he
          general threat to the Constitution’s separation of powers and
          the particular threat to Congress’s supremacy over fiscal
          matters are obvious. Congress may no more lawfully chip away
          at its own obligation to regularly appropriate money than it may
          abdicate that obligation entirely. If the [Bureau]’s funding
          mechanism survives this litigation, the camel’s nose is in the
          tent. When conditions are right, the rest will follow.

   All Am. Check Cashing, 33 F.4th at 241 (Jones, J., concurring). The Bureau’s
   funding apparatus cannot be reconciled with the Appropriations Clause and
   the clause’s underpinning, the constitutional separation of powers.
                                          3.
          That leaves the question of remedy. Though Collins is not precisely
   on point, we follow its framework because, though that case involved an
   unconstitutional removal provision, we read its analysis as instructive for
   separation-of-powers cases more generally. See Collins, 141 S. Ct. at 1787–
   88; cf. All Am. Check Cashing, 33 F.4th at 241 (Jones, J., concurring) (finding
   Collins “inapt” for determining a remedy for the Bureau’s “budgetary
   independence”).




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          Collins clarified a dichotomy between agency actions that involve “a
   Government actor’s exercise of power that the actor did not lawfully
   possess” and those that do not. 141 S. Ct. at 1787–88. Examples of the
   former include actions taken by an unlawfully appointed official, see Lucia v.
   SEC, 138 S. Ct. 2044, 2055 (2018); a legislative officer’s exercise of executive
   power, see Bowsher v. Synar, 478 U.S. 714, 727–36 (1986); and the President’s
   exercise of legislative power, see Clinton v. City of New York, 524 U.S. 417,
   438 (1998). The remedy in those cases, invalidation of the unlawful actions,
   flows “directly from the government actor’s lack of authority to take the
   challenged action in the first place.” All Am. Check Cashing, 33 F.4th at 241
   (Jones, J., concurring).
          In contrast, the Court found the separation of powers problem posed
   by an official’s unlawful insulation from removal to be different. Collins, 141
   S. Ct. 1787–88. Unlike the above examples, such a provision “does not strip”
   a lawfully appointed government actor “of the power to undertake the other
   responsibilities of his office.” Id. at 1788. Thus, as discussed supra in II.B.,
   to obtain a remedy, a plaintiff must prove more than the existence of an
   unconstitutional provision; she must prove that the challenged action
   actually “inflicted harm.” Id. at 1789.
          Into which category does the Bureau’s promulgation of the Payday
   Lending Rule fall, given the agency’s unconstitutional self-funding scheme?
   The answer turns on the distinction between the Bureau’s power to take the
   challenged action and the funding that would enable the exercise of that
   power. Put differently, Congress plainly (and properly) authorized the
   Bureau to promulgate the Payday Lending Rule, see 12 U.S.C. §§ 5511(a),
   5512(b), as discussed supra in II.A–C.          But the agency lacked the
   wherewithal to exercise that power via constitutionally appropriated funds.
   Framed that way, the Bureau’s unconstitutional funding mechanism “[did]
   not strip the [Director] of the power to undertake the other responsibilities



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   of his office,” Collins, 141 S. Ct. at 1788 & n.23, but it deprived the Bureau of
   the lawful money necessary to fulfill those responsibilities.                  This is a
   distinction with more than a semantical difference, as it leads us to conclude
   that, consistent with Collins, the Plaintiffs are not entitled to per se
   invalidation of the Payday Lending Rule, but rather must show that “the
   unconstitutional . . . [funding] provision inflicted harm.” Id. at 1788–89.
           However, making that showing is straightforward in this case.
   Because the funding employed by the Bureau to promulgate the Payday
   Lending Rule was wholly drawn through the agency’s unconstitutional
   funding scheme, 17 there is a linear nexus between the infirm provision (the
   Bureau’s funding mechanism) and the challenged action (promulgation of
   the rule). In other words, without its unconstitutional funding, the Bureau
   lacked any other means to promulgate the rule. Plaintiffs were thus harmed
   by the Bureau’s improper use of unappropriated funds to engage in the
   rulemaking at issue. Indeed, the Bureau’s unconstitutional funding structure
   not only “affected the complained-of decision,” id. at 1801 (Kagan, J.,
   concurring in part), it literally effected the promulgation of the rule. Plaintiffs
   are therefore entitled to “a rewinding of [the Bureau’s] action.” Id.
           In considering other violations of the Constitution’s separation of
   powers, the Supreme Court has rewound the unlawful action by granting a
   new hearing, see Lucia v. SEC, 138 S. Ct. 2044, 2055 (2018), or invalidating


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              It is fairly apparent that the Bureau financed its rulemaking efforts with funds
   requisitioned via its unconstitutional funding mechanism. Cf. supra n.11. A Bureau report
   indicates that it spent over $9 million for “Research, Markets & Regulations” during the
   fiscal quarter in which the rule was issued. See Consumer Protection Financial
   Bureau, CFO update for the first quarter of fiscal year 2018 (2018),
   https://files.consumerfinance.gov/f/documents/cfpb_cfo-update_fy2018Q1.pdf. More
   granular information does not appear to be publicly available, perhaps a direct consequence
   of the Bureau’s unprecedented budgetary independence and lack of Congressional
   oversight.




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   an order, see NLRB v. Noel Canning, 573 U.S. 513, 521, 557 (2014); see also 5
   U.S.C. § 706(2)(A) (providing that, under the APA, a “reviewing court
   shall . . . hold unlawful and set aside agency action . . . found to be . . . not in
   accordance with law”). In like manner, we conclude that the district court
   erred in granting summary judgment to the Bureau and in denying the
   Plaintiffs a summary judgment “holding unlawful, enjoining and setting
   aside” the challenged rule. Accordingly, we render judgment in favor of the
   Plaintiffs on this claim and vacate the Payday Lending Rule as the product of
   the Bureau’s unconstitutional funding scheme.
                                          III.
          The Bureau did not exceed its authority under either the Act or the
   APA in promulgating its 2017 Payday Lending Rule. The issuing Director’s
   unconstitutional insulation from removal does not in itself invalidate the rule,
   and the Plaintiffs fail to demonstrate cognizable harm from that injury. Nor
   does the Bureau’s rulemaking authority transgress the nondelegation
   doctrine. We therefore AFFIRM the district court’s entry of summary
   judgment in favor of the Bureau in part.
          But Congress’s cession of its power of the purse to the Bureau violates
   the Appropriations Clause and the Constitution’s underlying structural
   separation of powers. The district court accordingly erred in granting
   summary judgment in favor of the Bureau and denying judgment in favor of
   the Plaintiffs. We therefore REVERSE the judgment of the district court
   on that issue, RENDER judgment in favor of the Plaintiffs, and VACATE
   the Bureau’s Payday Lending Rule.
             AFFIRMED in part; REVERSED in part; and RENDERED.




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           United States Court of Appeals
                for the Fifth Circuit
                                  u                                  United States Court of Appeals
                                                                              Fifth Circuit

                                                                            FILED
                                                                      October 19, 2022
                                   No. 21-50826                        Lyle W. Cayce
                                                                            Clerk

   Community Financial Services Association of America,
   Limited; Consumer Service Alliance of Texas,

                                                          Plaintiffs—Appellants,

                                       versus

   Consumer Financial Protection Bureau; Rohit Chopra,
   in his official capacity as Director, Consumer Financial Protection Bureau,

                                                         Defendants—Appellees.


                  Appeal from the United States District Court
                       for the Western District of Texas
                            USDC No. 1:18-CV-295


   Before Willett, Engelhardt, and Wilson, Circuit Judges.
   Cory T. Wilson, Circuit Judge:
          “An elective despotism was not the government we fought for; but
   one which should not only be founded on free principles, but in which the
   powers of government should be so divided and balanced . . . , as that no one
   could transcend their legal limits, without being effectually checked and
   restrained by the others.” The Federalist No. 48 (J. Madison)
   (quoting Thomas Jefferson’s Notes on the State of Virginia (1781)). In
   particular, as George Mason put it in Philadelphia in 1787, “[t]he purse & the
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   sword ought never to get into the same hands.” 1 The Records of the
   Federal Convention of 1787, at 139–40 (M. Farrand ed. 1937). These
   foundational precepts of the American system of government animate the
   Plaintiffs’ claims in this action. They also compel our decision today.
          Community Financial Services Association of America and Consumer
   Service Alliance of Texas (the “Plaintiffs”) challenge the validity of the
   Consumer Financial Protection Bureau’s 2017 Payday Lending Rule. The
   Plaintiffs contend that in promulgating that rule, the Bureau acted arbitrarily
   and capriciously and exceeded its statutory authority. They also contend that
   the Bureau is unconstitutionally structured, challenging the Bureau
   Director’s insulation from removal, Congress’s broad delegation of authority
   to the Bureau, and the Bureau’s unique, double-insulated funding
   mechanism. The district court rejected these arguments.
          We agree that, for the most part, the Plaintiffs’ claims miss their mark.
   But one arrow has found its target: Congress’s decision to abdicate its
   appropriations power under the Constitution, i.e., to cede its power of the
   purse to the Bureau, violates the Constitution’s structural separation of
   powers. We thus reverse the judgment of the district court, render judgment
   in favor of the Plaintiffs, and vacate the Bureau’s 2017 Payday Lending Rule.
                                         I.
                                         A.
          In response to the 2008 financial crisis, Congress enacted the
   Consumer Financial Protection Act, 12 U.S.C. §§ 5481–5603. The Act
   created the Bureau as an independent regulatory agency housed within the
   Federal Reserve System. See id. § 5491(a). The Bureau is charged with
   “implement[ing]” and “enforce[ing]” consumer protection laws to
   “ensur[e] that all consumers have access to markets for consumer financial




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   products and services” that “are fair, transparent, and competitive.” Id.
   § 5511(a).
          Congress transferred to the Bureau administrative and enforcement
   authority over 18 federal statutes which prior to the Act were overseen by
   seven different agencies. See id. §§ 5512(a), 5481(12), (14). Those statutes
   “cover everything from credit cards and car payments to mortgages and
   student loans.” Seila Law LLC v. CFPB, 140 S. Ct. 2183, 2200 (2020). In
   addition, Congress enacted a sweeping new proscription on “any unfair,
   deceptive, or abusive act or practice” by certain participants in the
   consumer-finance industry.        12 U.S.C. § 5536(a)(1)(B).        “Congress
   authorized the [Bureau] to implement that broad standard (and the 18 pre-
   existing statutes placed under the agency’s purview) through binding
   regulations.” Seila Law, 140 S. Ct. at 2193 (citing 12 U.S.C. §§ 5531(a)–(b),
   5581(a)(1)(A), (b)).
          Congress placed the Bureau’s leadership under a single Director to be
   appointed by the President with the advice and consent of the Senate. 12
   U.S.C. § 5491(b)(1)–(2). The Director serves a term of five years, with the
   potential of a holdover period pending confirmation of a successor. Id.
   § 5491(c)(1)–(2). The Act originally limited the President’s ability to remove
   the Director, id. § 5491(c)(3), but the Supreme Court invalidated that
   provision while this litigation was pending, see Seila Law, 140 S. Ct. at 2197.
          The Director is vested with authority to “prescribe rules and issue
   orders and guidance, as may be necessary or appropriate to enable the Bureau
   to administer and carry out the purposes and objectives of the Federal
   consumer financial laws, and to prevent evasions thereof.” 12 U.S.C.
   § 5512(b)(1). This includes rules “identifying as unlawful unfair, deceptive,
   or abusive acts or practices” committed by certain participants in the
   consumer-finance industry. Id. § 5531(b).




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          The Bureau’s funding scheme is unique across the myriad
   independent executive agencies across the federal government. It is not
   funded with periodic congressional appropriations. “Instead, the [Bureau]
   receives funding directly from the Federal Reserve, which is itself funded
   outside the appropriations process through bank assessments.” Seila Law,
   140 S. Ct. at 2194. Each year, the Bureau simply requests an amount
   “determined by the Director to be reasonably necessary to carry out the”
   agency’s functions. Id. § 5497(a)(1). The Federal Reserve must then
   transfer that amount so long as it does not exceed 12% of the Federal
   Reserve’s “total operating expenses.” Id. § 5497(a)(1)–(2). For the first five
   years of its existence (i.e., 2010–2014), the Bureau was permitted to exceed
   the 12% cap by $200 million annually so long as it reported the anticipated
   excess to the President and congressional appropriations committees. Id.
   § 5497(e)(1)–(2).
                                        B.
          In 2016, Director Richard Cordray, who was appointed by President
   Barack Obama, proposed a rule to regulate payday, vehicle title, and certain
   high-cost installment loans (the “Payday Lending Rule”). After a public
   notice-and-comment period, Director Corday finalized the Payday Lending
   Rule in November 2017, during the first year of the Trump administration.
   See Payday, Vehicle Title, and Certain High-Cost Installment Loans, 82 Fed.
   Reg. 54472 (Nov. 17, 2017). The rule became effective on January 16, 2018,
   and had a compliance date of August 19, 2019. Id.
          The Rule had two major components, each limiting a practice the
   Bureau deemed “unfair” and “abusive.” See id. First, the “Underwriting
   Provisions” prohibited lenders from making covered loans “without
   reasonably determining that consumers have the ability to repay the loans
   according to their terms.” 12 C.F.R. § 1041.4 (2018); 82 Fed. Reg. at 54472.




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   The Underwriting Provisions have since been repealed and are not at issue in
   this appeal. See 85 Fed. Reg. 44382 (July 22, 2019).
          Second, and relevant here, the “Payment Provisions” limit a lender’s
   ability to obtain loan repayments via preauthorized account access. See 12
   C.F.R. § 1041.8. The Bureau determined that absent a new and specific
   authorization, it is “unfair and abusive” for lenders to attempt to withdraw
   payments for covered loans from consumers’ accounts after two consecutive
   withdrawal attempts have failed due to a lack of sufficient funds. Id. § 1041.7;
   82 Fed. Reg. at 54472. The Payment Provisions accordingly prohibit lenders
   from initiating additional payment transfers from consumers’ accounts after
   two consecutive attempts have failed for insufficient funds unless “the
   additional payment transfers are authorized by the consumer.” 12 C.F.R.
   § 1041.8(b)(1), (c)(1).
          The Payment Provisions cast a wide net. So long as the purpose of the
   attempted transfer is to collect payment due on a covered loan, the two-
   attempt limit applies to “any lender-initiated debt or withdrawal of funds
   from a consumer’s account.” Id. § 1041.8(a)(1). This includes checks, debit
   and prepaid card transfers, preauthorized electronic fund transfers, and
   remotely created payment orders. See id.; 82 Fed. Reg. at 54910.
          In April 2018, the Plaintiffs sued the Bureau on behalf of payday
   lenders and credit access businesses, seeking an “order and judgment
   holding unlawful, enjoining, and setting aside” the Payday Lending Rule.
   The Plaintiffs alleged that the rule exceeded the Bureau’s statutory authority
   and otherwise violated the Administrative Procedure Act (APA). They
   further alleged that the rule was invalid because the Act’s for-cause removal
   provision, self-funding mechanism, and delegation of rulemaking authority
   each violated the Constitution’s separation of powers.




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          Around this time, the Bureau, now led by Acting Director Mick
   Mulvaney, announced that it intended to engage in notice-and-comment
   rulemaking to reconsider the Payday Lending Rule. Due to that ongoing
   effort, the parties filed a joint request to stay both the litigation and the rule’s
   effective date. The district court entered a stay pending further order of the
   court. Cmty. Fin. Servs. Ass’n of Am., Ltd. v. CFPB, 2018 WL 6252409, at *2
   (W.D. Tex. Nov. 6, 2018).
          While the Bureau engaged in rulemaking, President Trump
   nominated and the Senate confirmed Kathleen Kraninger as Director,
   replacing Acting Director Mulvaney. In early 2019, the Bureau issued a
   proposed rule rescinding the Underwriting Provisions but leaving the
   Payment Provisions intact. 84 Fed. Reg. 4252. In July 2020, following the
   Supreme Court’s decision in Seila Law, the Bureau finalized its revised rule.
   85 Fed. Reg. 44382.         The Bureau simultaneously issued a separate
   “Ratification,” in which it “affirm[ed] and ratifie[d] the [P]ayment
   [P]rovisions of the 2017 [Payday Lending] Rule.” 85 Fed. Reg. 41905-02.
          In August 2020, the district court lifted the stay, and the Plaintiffs
   amended their complaint to challenge, among other things, the Bureau’s
   ratification of the Payment Provisions. Thereafter, the parties filed cross-
   motions for summary judgment.            The district court granted summary
   judgment for the Bureau on each of the Plaintiffs’ claims. Cmty. Fin. Servs.
   Ass’n of Am., Ltd. v. CFPB, 558 F. Supp. 3d 350 (W.D. Tex. 2021). The court
   concluded, inter alia, that: (1) the promulgating Director’s insulation from
   removal did not render the Payment Provisions void ab initio, id. at 358;
   (2) the Bureau’s “ratification of the Payment Provisions was a solution
   tailored to the constitutional injury sustained by the [Plaintiffs],” id. at 365;
   (3) the “Payment Provisions [were] consistent with the Bureau’s statutory
   authority and not arbitrary and capricious,” id.; (4) the Bureau’s self-funding
   mechanism did not violate the Appropriations Clause because it was



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   expressly authorized by statute, id. at 367; and (5) there was no nondelegation
   issue because the Bureau was vested with an “intelligible principle” to guide
   its discretion, id.
          The Plaintiffs now appeal. We allowed the Third-Party Payment
   Processors Association, a national non-profit association of payment
   processors and their banks, to appear as amicus curiae in support of the
   Plaintiffs’ arbitrary-and-capricious challenge.
                                         II.
          We “review a district court’s judgment on cross motions for summary
   judgment de novo, addressing each party’s motion independently, viewing
   the evidence and inferences in the light most favorable to the nonmoving
   party.” Morgan v. Plano Indep. Sch. Dist., 589 F.3d 740, 745 (5th Cir. 2009).
   Summary judgment is appropriate “if the movant shows that there is no
   genuine dispute as to any material fact and the movant is entitled to judgment
   as a matter of law.” Fed. R. Civ. P. 56(a). Constitutional issues are also
   reviewed de novo. Huawei Techs. USA, Inc. v. FCC, 2 F.4th 421, 434 (5th
   Cir. 2021).
          The Plaintiffs raise four overarching issues on appeal. They contend
   that the Payment Provisions of the Payday Lending Rule are invalid because:
   (1) the rule’s promulgation violated the APA; (2) the rule was promulgated
   by a Director unconstitutionally insulated from presidential removal; (3) the
   Bureau’s rulemaking authority violates the nondelegation doctrine; and
   (4) the Bureau’s funding mechanism violates the Appropriations Clause of
   the Constitution. We address each argument in turn.
                                         A.
          The APA instructs courts to “hold unlawful and set aside agency
   action[s]” that are “arbitrary, capricious, an abuse of discretion, or otherwise




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   not in accordance with law,” or “in excess of statutory jurisdiction,
   authority, or limitations.” 5 U.S.C. § 706(2). The Plaintiffs lodge two
   arguments under the APA. First, they contend that the Bureau exceeded its
   statutory authority by declaring more than two successive preauthorized
   withdrawals to be “unfair” and “abusive.” Second, they assert that the
   Payment Provisions are arbitrary and capricious in their entirety or,
   alternatively, as applied to two specific contexts—installment loans and debit
   and prepaid card payments.
                                         1.
          The Act grants the Bureau broad authority to prescribe rules
   prohibiting “unfair, deceptive, or abusive acts or practices in connection with
   any transaction with a consumer for a consumer financial product or service,
   or the offering of a consumer financial product or service.” 12 U.S.C.
   § 5531(b). This authority is not without limitation, however. Congress
   included specific definitions that govern when an act or practice may be
   deemed “unfair,” id. § 5531(c)(1), or “abusive,” id. § 5531(d). And unless
   those definitions are met, the Bureau “shall have no authority” to regulate
   conduct on either ground. See id. § 5531(c)–(d).
          In devising the Payment Provisions, the Bureau assessed the statutory
   definitions and determined that it was both “unfair” and “abusive” for
   lenders to attempt additional withdrawals from consumers’ accounts after
   two consecutive attempts failed due to insufficient funds unless the lender
   acquired “new and specific authorization.” 12 C.F.R. § 1041.7; see also 82
   Fed. Reg. at 54472. The Plaintiffs assert that the Bureau lacked authority to
   regulate the number of unsuccessful withdrawal attempts because this
   practice falls outside the Act’s definitions of “unfair” and “abusive.”




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           Our review begins (and ends) with unfairness. 1 Under the Act, an act
   or practice is “unfair” if “the Bureau has a reasonable basis to conclude that
   [1] the act or practice causes or is likely to cause substantial injury to
   consumers [2] which is not reasonably avoidable by consumers; and [3] such
   substantial injury is not outweighed by the countervailing benefits to
   consumers or to competition.”             12 U.S.C. § 5531(c)(1).         The Bureau
   evaluated each element in its 2017 rulemaking record and concluded that the
   proscribed practice satisfied all three. The Plaintiffs challenge only the first
   two elements on appeal.
           As to the first, the Bureau determined that lenders’ excessive
   withdrawal attempts cause or are likely to cause consumers substantial injury
   in the form of repeated fees, including insufficient fund fees, overdraft fees,
   and lender-imposed return fees. 82 Fed. Reg. at 54732–34. It also found that
   “consumers who experience two or more consecutive failed lender payment
   attempts appear to be at greater risk of having their accounts closed by their
   account-holding institution.” Id. at 54734. The Plaintiffs do not dispute the
   occurrence or substantiality of these injuries. Rather, they challenge the
   Bureau’s finding that the proscribed practice either causes or is likely to
   cause them. The Plaintiffs assert that “[c]onsumers’ banks—not lenders—
   cause failed-payment fees or bank-account closures” because they are the
   ones who “impose, collect, or otherwise control [them].”
           We are unpersuaded.          The presence of an “independent causal
   agent[]” does not “erase the role” lenders play in bringing about the
   contemplated harm. FTC v. Neovi, Inc., 604 F.3d 1150, 1155 (9th Cir. 2010).


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             Because we ultimately conclude that the Bureau acted within its statutory
   authority in deeming the proscribed practice unfair, we do not address the alternative
   ground of abusiveness. See 12 U.S.C. § 5531(b) (authorizing the Bureau to prescribe rules
   regulating practices that are “unfair,” “abusive,” or both).




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   Though not the “most proximate cause,” a lender’s repeated initiation of
   unsuccessful payment transfers is both a but-for and a proximate cause of any
   resulting fees or closures. FTC v. Wyndham Worldwide Corp., 799 F.3d 236,
   246 (3d Cir. 2015) (“[The fact] that a company’s conduct was not the most
   proximate cause of an injury generally does not immunize liability from
   foreseeable harms.”).
           The Plaintiffs also challenge the Bureau’s finding that these injuries
   are not reasonably avoidable by consumers. Few courts have meaningfully
   addressed this second element of “unfairness” under the Act. E.g., CFPB v.
   Navient Corp., No. 3:17-CV-101, 2017 WL 3380530, at *20–21 (M.D. Pa.
   Aug. 4, 2017); CFPB v. D & D Mktg., No. CV 15-9692, 2016 WL 8849698, at
   *10 (C.D. Cal. Nov. 17, 2016); CFPB v. ITT Educ. Servs., Inc., 219 F. Supp.
   3d 878, 916–17 (S.D. Ind. 2015). In doing so, these courts relied on our sister
   circuits’ interpretations of “reasonably avoidable” from the analogous
   standard in the Federal Trade Commission Act (FTCA). See 15 U.S.C.
   § 45(n). 2 We do the same. 3
           To determine whether an injury was “reasonably avoidable” under
   the FTCA, courts generally “look to whether the consumers had a free and
   informed choice.” Neovi, 604 F.3d at 1158; accord Am. Fin. Servs. Ass’n v.


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              Section 45(n) provides that the Federal Trade Commission “shall have no
   authority . . . to declare unlawful an act or practice on the grounds that such act or practice
   is unfair unless the act or practice causes or is likely to cause substantial injury to consumers
   which is not reasonably avoidable by consumers themselves and not outweighed by
   countervailing benefits to consumers or to competition.”
           3
             Looking to the FTCA for guidance, we remain mindful of one important
   distinction: The Act requires only that the Bureau have “a reasonable basis to conclude
   that” the proscribed practice “is not reasonably avoidable by consumers,” 12 U.S.C.
   § 5531(c)(1) (emphasis added), while the FTCA includes no such qualifier, see 15 U.S.C.
   § 45(n). In other words, while we find the standards to be analogous, the Bureau is perhaps
   afforded more deference in its determination than would be afforded under the FTCA.




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   FTC, 767 F.2d 957, 976 (D.C. Cir. 1985). “An injury is reasonably avoidable
   $!*).0( -.B#1 - .*)/*)/$$+/ the impending harm and the means
   to avoid it,’ or if consumers are aware of, and are reasonably capable of
   pursuing, potential avenues toward mitigating the injury after the fact.”
   Davis v. HSBC Bank Nev., N.A., 691 F.3d 1152, 1168–69 (9th Cir. 2012)
   (quoting Orkin Exterminating Co. v. FTC, 849 F.2d 1354, 1365–66 (11th Cir.
   1988)). The Plaintiffs contend that consumers can reasonably avoid injury
   associated with successive withdrawal attempts by (1) “not authorizing
   automatic withdrawals,” (2) “sufficiently funding [their] account[s],”
   (3) “negotiating revised payment options,” (4) “invoking [their] rights
   under federal law to issue stop-payment orders or rescind account access,”
   or (5) “declining to take out the loan” and “pursuing alternative[] sources of
   credit.”
          Each of these concerns was raised during the public comment period
   of the Bureau’s rulemaking process. See, e.g., 82 Fed. Reg. at 54736–37. The
   Bureau found none of them sufficient to constitute a reasonable means of
   avoiding injury. Id. at 54737. The rulemaking record prefaces that many
   borrowers resort to payday loans because they are in financial distress and
   lack other viable options for financing. Id. at 54571, 54735. Addressing the
   Plaintiffs’ first point, the Bureau explained that since “leveraged payment
   mechanisms” are “a central feature of these loans,” borrowers typically do
   not have the ability to shop for loans without them. Id. at 54737. The Bureau
   also found that simply funding their accounts is not a reasonable means for
   borrowers to avoid injury because “[m]any borrowers [do] not have the
   funds” after two unsuccessful withdrawal attempts, and “subsequent
   [withdrawals] can occur very quickly, often on the same day, making it
   difficult to ensure funds are in the right account before the [next withdrawal]
   hits.” Id. For the same reason, the Bureau found negotiating repayment




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   options to be too slow a solution to mitigate against fees incurred on
   additional withdrawal attempts. See id. at 54736–37.
          Regarding the Plaintiffs’ fourth point, the Bureau explained that costs,
   “[c]omplexities in payment processing systems[,] and the internal
   procedures of consumers’ account-holding institutions, combined with
   lender practices, often make it difficult for consumers to stop payment or
   revoke authorization effectively.” Id. Finally, the Bureau concluded that
   “the suggestion that a consumer can simply decide not to participate in the
   market is not . . . a valid means of reasonably avoiding the injury.” Id. at
   54737. By that logic, the Bureau reasoned, “no market practice could ever
   be determined to be unfair.” Id.
          The Bureau’s explanations are fully fleshed out in the Payday Lending
   Rule’s 519-page rulemaking record, where they are supported by a variety of
   data and industry-related studies. Reviewing that record as it undergirds the
   Payment Provisions, we find the Bureau had “a reasonable basis to
   conclude” that the harms associated with three or more unsuccessful
   withdrawal attempts are “not reasonably avoidable by consumers.” 12
   U.S.C. § 5531(c)(1). Because the proscribed practice thus satisfies the
   elements of an “unfair” practice under the Act, we conclude that the Bureau
   acted within its statutory authority in promulgating the Payment Provisions.
                                         2.
          Next, the Plaintiffs contend that the Payment Provisions are arbitrary
   and capricious, either as a whole or as applied. “The APA’s arbitrary-and-
   capricious standard requires that agency action be reasonable and reasonably
   explained. Judicial review under that standard is deferential, and a court may
   not substitute its own policy judgment for that of the agency.” FCC v.
   Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021). Still, we must ensure
   that an agency “examine[s] the relevant data and articulate[s] a satisfactory




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   explanation for its action including a rational connection between the facts
   found and the choice made.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State
   Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (quotation omitted). A rule
   is arbitrary and capricious if the agency relied on “impermissible factors,
   failed to consider important aspects of the problem, offered an explanation
   for its decision that is contrary to the record evidence, or is so irrational that
   it could not be attributed to a difference in opinion or the result of agency
   expertise.” BCCA Appeal Grp. v. U.S. EPA, 355 F.3d 817, 824 (5th Cir.
   2003).
            Here, the Plaintiffs first contend that the Payment Provisions are
   arbitrary and capricious in their entirety because they rest on stale data from
   four-to-five years prior to their promulgation, and the Bureau failed to
   consider the provisions’ important countervailing effects. As to the first
   point, the Plaintiffs forfeited their stale data argument by failing to raise it in
   the district court. See Rollins v. Home Depot USA, Inc., 8 F.4th 393, 398 (5th
   Cir. 2021). And forfeiture aside, the Bureau offered a reasoned explanation
   in its 2017 rulemaking record for relying on data collected from 2011–2012.
   See 82 Fed. Reg. at 54722, 54729.
            As to the second point, the only countervailing effect the Plaintiffs
   allege the Bureau failed to consider is “the increased likelihood that a loan
   will enter into collections sooner than it would have (if it would have at all).”
   But the Bureau persuasively responds that “[i]f the borrower is unable to
   obtain the funds, it is unclear why the borrower (or the lender) would be
   better off if the lender could initiate failed withdrawal attempts—and, in the
   process, pile additional fees onto the borrower—before the loan enters
   collections.” Even if the Payment Provisions’ limit on repeated withdrawal
   attempts might send some loans to collections sooner, that possibility is not
   so “important” that the Bureau had to consider it specifically. See Motor
   Vehicle Mfrs., 463 U.S. at 43 (explaining “an agency rule would be arbitrary



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   and capricious if the agency . . . entirely failed to consider an important
   aspect of the problem”).
           Turning to their as-applied challenge, the Plaintiffs assert that the
   Payment Provisions are arbitrary and capricious as applied to debit and
   prepaid card payments and as to separate installments of multi-payment
   installment loans. Amicus joins them with respect to debit and prepaid cards.
   Together, they contend that the Payment Provisions “arbitrarily treat[] debit
   and prepaid card payments the same as check and [account clearinghouse]
   payments, even though the former do not give rise to the fees that, in the
   Bureau’s assessment, justify the Rule.”
           The Bureau acknowledged in the rulemaking record that debit and
   prepaid card transactions “present somewhat less risk of harm to
   consumers,” but it declined to exclude them for several reasons. 82 Fed.
   Reg. at 54750. For one, the Bureau found that though failed debit and prepaid
   card transactions may not trigger insufficient fund fees, “some of them do
   trigger overdraft fees, even after two failed attempts.” Id. And as with other
   payment-transfer methods, consumers would still be subject to “return
   payment fees and late fees charged by lenders.” Id. at 54723, 54734. The
   Bureau also explained that a carve out for these transactions “would be
   impracticable to comply with and enforce.”                     Id. at 54750.         These
   considerations suffice to establish a “rational connection between the facts
   found and choice made.” Motor Vehicle Mfrs., 463 U.S. at 43 (quotation
   omitted). Therefore, the Payment Provisions are not arbitrary and capricious
   as applied to debit and prepaid card transfers. 4



           4
             The Plaintiffs also contend that “the denial of [Advance Financial’s] rulemaking
   petition seeking amendment of the [Payday Lending] Rule to exclude debit and prepaid
   card payments was arbitrary and capricious.” But just as it was not arbitrary and capricious
   for the Bureau initially to include these payment types within the rule, it was not arbitrary




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           Similarly, we cannot say that the Bureau acted arbitrarily and
   capriciously by extending the Payment Provisions’ two-attempt limit across
   all scheduled installment payments on the same loan. The Plaintiffs contend
   that the Bureau failed to support its decision with “reasoned analysis or
   record evidence.” But again, the rulemaking record proves otherwise. Citing
   its own study, the Bureau explained that a third withdrawal attempt, even as
   applied to a different scheduled payment, would still likely fail “even if two
   weeks or a month has passed.” 82 Fed. Reg. at 54753. The Bureau also found
   that “the tailoring of individualized requirements for each discrete payment
   practice would add considerable complexity to the rule.” Id. Further, the
   Bureau determined that distinguishing between re-presentments of the same
   payment and new presentments for new installments would invite evasion by
   lenders. The Bureau referenced a rule imposed by the National Automated
   Clearinghouse        Association       (NACHA),           a    self-governing       private
   organization, that is similar to the Payment Provisions (except that it only
   applies after three attempts). See id. at 54728–29. The Bureau noted that the
   NACHA rule’s distinction between attempts to collect a new payment and
   re-initiation of a prior one had led companies to manipulate data fields so that
   it would appear as if a withdrawal attempt was for a new installment. See id.
   at 54728 n.985 & 54729.
           In sum, we conclude that the Payment Provisions are not arbitrary and
   capricious, either in their entirety or in their two contested applications. As
   Plaintiffs fail to show that the Payday Lending Rule’s promulgation violated



   and capricious for the Bureau to deny a rulemaking petition asking for their exemption.
   This is especially true considering the “extremely limited and highly deferential” standard
   under which we review an agency’s “[r]efusal[] to promulgate rules.” Massachusetts v.
   EPA, 549 U.S. 497, 527–28 (2007) (internal quotation marks omitted) (quoting Nat’l
   Customs Brokers & Forwarders Ass’n. of Am., Inc. v. United States, 883 F.2d 93, 96 (D.C. Cir.
   1989)).




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   the APA, summary judgment in favor of the Bureau on this claim was
   warranted.
                                          B.
          The Plaintiffs next contend that the Payment Provisions must be
   invalidated because the Payday Lending Rule was initially promulgated by a
   director who was unconstitutionally shielded from removal.
                                          1.
          The Act states that the Bureau’s Director may be removed only “for
   inefficiency, neglect of duty, or malfeasance in office.”            12 U.S.C.
   § 5491(c)(3). In Seila Law, the Court held that this limitation on the
   President’s removal power violated the Constitution’s separation of powers.
   140 S. Ct. at 2197. But the Court declined to find that the Director’s
   unconstitutional insulation from removal rendered the remainder of the Act
   invalid. Id. at 2208–11. Instead, the Court concluded that the infirm removal
   provision was severable and remanded the case for a determination of the
   appropriate relief. Id. at 2211.
          Like Seila Law, Collins v. Yellen, 141 S. Ct. 1761 (2021), involved a
   challenge to actions taken by an independent agency, the Federal Housing
   Finance Agency (FHFA), that was headed by a single officer removable only
   for cause. See 141 S. Ct. at 1784. The Collins petitioners asserted that the
   FHFA Director’s for-cause removal protection violated the separation of
   powers, and therefore the agency actions at issue “must be completely
   undone.” Id. at 1787. The Court agreed that the for-cause removal provision
   was unconstitutional, finding Seila Law “all but dispositive.” Id. at 1783. But
   it refused to hold that an officer’s insulation from removal, by itself, rendered
   all agency action taken under that officer void. Id. at 1787–88. Unlike cases
   “involv[ing] a Government actor’s exercise of power that the actor did not
   lawfully possess,” the Court explained, a properly appointed officer’s




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   insulation from removal “does not strip the [officer] of the power to
   undertake the other responsibilities of his office.” Id. at 1788 & n.23. Thus,
   to obtain a remedy, the challenging party must demonstrate not only that the
   removal restriction violates the Constitution but also that “the
   unconstitutional removal provision inflicted harm.” Id. at 1788–89.
           While the Plaintiffs acknowledge Collins, they argue the case is
   distinguishable on several grounds. None are persuasive.
           First, they assert that Collins applies only to retrospective relief. But
   Collins did not rest on a distinction between prospective and retrospective
   relief. As the Sixth Circuit recently explained, Collins’s remedial inquiry
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   to a remedy, rather than the nature of the remedy, and our determination as
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   the same whether the petitioner seeks retrospective or prospective relief.”
   Calcutt v. FDIC, 37 F.4th 293, 316 (6th Cir. 2022). 5
           The Plaintiffs also contend that Collins “does not apply to rulemaking
   challenges.” This distinction is similarly without a difference. To the
   contrary, in Collins, the Court explicitly stated that “the unlawfulness of the
   removal provision does not strip the Director of the power to undertake the
   other responsibilities of his office.” 141 S. Ct. at 1788 n.23. Because the
   Bureau’s Director’s “other responsibilities” include rulemaking, see 12
   U.S.C. §§ 5511(a), 5512(b), Collins is directly on point, and the Plaintiffs




           5
              Collins originally involved claims for both prospective and retrospective relief.
   141 S. Ct. at 1780. By the time the case reached the Supreme Court, the challengers’ claims
   for prospective relief were moot. Id. Therefore, the Court articulated its remedial analysis
   in terms of retrospective relief. See id. at 1788–89.




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   must demonstrate that the unconstitutional removal provision caused them
   harm.
                                           2.
           Joining the issue, the Plaintiffs assert that “even if Collins does inform
   the analysis here, its framework plainly requires setting aside the [Payment
   Provisions]” because the Plaintiffs have made a sufficient showing of harm.
   As noted above, after Collins, a party challenging agency action must show
   not only that the removal restriction transgresses the Constitution’s
   separation of powers but also that the unconstitutional provision caused (or
   would cause) them harm. 141 S. Ct. at 1789. The Court chose to remand
   Collins’s remedy question and stopped short of articulating a precise
   statement as to how a party may prove harm. See id. at 1788–89. Instead, the
   Collins majority concluded with several hypotheticals:
           Although an unconstitutional provision is never really part of
           the body of governing law (because the Constitution
           automatically displaces any conflicting statutory provision
           from the moment of the provision’s enactment), it is still
           possible for an unconstitutional provision to inflict
           compensable harm.           And the possibility that the
           unconstitutional restriction on the President’s power to
           remove a Director . . . could have such an effect cannot be ruled
           out. Suppose, for example, that the President had attempted to
           remove a Director but was prevented from doing so by a lower
           court decision holding that he did not have “cause” for
           removal. Or suppose that the President had made a public
           statement expressing displeasure with actions taken by a
           Director and had asserted that he would remove the Director if
           the statute did not stand in the way. In those situations, the
           statutory provision would clearly cause harm.
   Id.




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            We distill from these hypotheticals three requisites for proving harm:
   (1) a substantiated desire by the President to remove the unconstitutionally
   insulated actor, (2) a perceived inability to remove the actor due to the infirm
   provision, and (3) a nexus between the desire to remove and the challenged
   actions taken by the insulated actor. This is borne out by the concurring
   Justices’ opinions as well. See id. at 1792–93 (Thomas, J., concurring); id. at
   1801 (Kagan, J., concurring in part); id. at 1803 n.1 (Sotomayor, J., concurring
   in part and dissenting in part). As Justice Kagan emphasized, “plaintiffs
   alleging a removal violation are entitled to injunctive relief—a rewinding of
   agency action—only when the President’s inability to fire an agency head
   affected the complained-of decision.” Id. at 1801 (Kagan, J., concurring in part)
   (emphasis added).
            It is thus not enough, as the Plaintiffs would have us hold, for a
   challenger to obtain relief merely by establishing that the unconstitutional
   removal provision prevented the President from removing a Director he
   wished to replace. As we read Collins, to demonstrate harm, the Plaintiffs
   must show a connection between the President’s frustrated desire to remove
   the actor and the agency action complained of. See id. at 1789. Without this
   showing, the Plaintiffs could put themselves in a better place than otherwise
   warranted, by challenging decisions either with which the President agreed,
   or of which he had no awareness at all. Id. at 1802 (Kagan, J., concurring in
   part).
            Applying Collins’s framework, we conclude the Plaintiffs fail to show
   that the Act’s removal provision inflicted a constitutional harm. Though
   they state “[i]t is uncontested that, but for the later-invalidated removal
   restriction, President Trump would have replaced [Director] Cordray before
   he finalized the [Payday Lending Rule],” their only support for this assertion
   consists of a few carefully selected statements from Director Cordray’s book,
   see, e.g., Richard Cordray, Watchdog: How Protecting



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   Consumers Can Save Our Families, Our Economy, and
   Our Democracy 185 (2020) (“[T]he threat that I would be fired as soon
   as President Trump took office loomed over everything.”), and an online
   article, see Kate Berry, In Tell-All, Ex-CFPB Chief Cordray Claims Trump
   Nearly Fired Him, American Banker (Feb. 27, 2020) https://www.
   americanbanker.com/news/in-tell-all-ex-cfpb-chief-cordrayclaims-trump-
   nearly-fired-him (stating “President Trump was advised to hold off on firing
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   cause’ provision”).
          These secondhand accounts of President Trump’s supposed
   intentions are insufficient to establish harm. The Director’s subjective belief
   that his firing might be imminent does not in itself substantiate that the
   President would have removed the Director but for the unconstitutional
   removal provision.      Regardless, the record before us plainly fails to
   demonstrate any nexus between the President’s purported desire to remove
   Cordray and the promulgation of the Payday Lending Rule or, specifically,
   the Payment Provisions. In short, nothing the Plaintiffs proffer indicates
   that, but for the removal restriction, President Trump would have removed
   Cordray and that the Bureau would have acted differently as to the rule.
          Because the Plaintiffs have failed to demonstrate harm, we need not
   address the Bureau’s alternative argument that any alleged harm was cured
   by Director Kraninger’s ratification of the Payment Provisions. See CFPB v.
   CashCall, Inc., 35 F.4th 734, 743 (9th Cir. 2022) (finding “it unnecessary to
   consider ratification” where the challenger could not establish harm).
   Summary judgment in favor of the Bureau on this claim was proper.
                                          C.
          We next consider the Plaintiffs’ argument that the Bureau’s
   rulemaking authority violates the Constitution’s separation of powers by




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   running afoul of the nondelegation doctrine. 6 The Constitution provides that
   “[a]ll legislative Powers herein granted shall be vested in a Congress of the
   United States.” U.S. Const. art. I, § 1. Inherent in “that assignment of
   power to Congress is a bar on its further delegation.” Gundy v. United States,
   139 S. Ct. 2116, 2123 (2019) (plurality opinion). “Under the nondelegation
   doctrine, Congress may not constitutionally delegate its legislative power to
   another branch of government.” United States v. Jones, 132 F.3d 232, 239
   (5th Cir. 1998) (citing Mistretta v. United States, 488 U.S. 361, 372 (1989)).
           But the Supreme Court has long delimited this general principle: “So
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   which the person or body authorized to [act] is directed to conform, such
   legislative action is not a forbidden delegation of legislative power.’” Touby
   v. United States, 500 U.S. 160, 165 (1991) (quoting J.W. Hampton, Jr., & Co.
   v. United States, 276 U.S. 394, 409 (1928)). It is “constitutionally sufficient
   if Congress clearly delineates the general policy, the public agency which is
   to apply it, and the boundaries of this delegated authority.” Am. Power &
   Light Co. v. SEC, 329 U.S. 90, 105 (1946); see also Gundy, 139 S. Ct. at 2129
   (explaining that “[t]hose standards . . . are not demanding”).
           Through the Act, Congress gave the Bureau authority “to prescribe
   rules . . . identifying as unlawful unfair, deceptive, or abusive acts or
   practices.” 12 U.S.C. § 5531(b). This constituted a delegation of legislative
   power because “the lawmaking function belongs to Congress.” Loving v.
   United States, 517 U.S. 748, 758 (1996). The question is whether Congress


           6
              For the first time on appeal, the Plaintiffs also argue that Congress violated the
   nondelegation doctrine by delegating its appropriations power to the Bureau. This
   argument is distinct from the Plaintiffs’ Appropriations Clause challenge, which was raised
   in the district court and which we address infra in II.D. Because the Plaintiffs did not raise
   their appropriations-based nondelegation argument in the district court, it is forfeited on
   appeal. See Rollins, 8 F.4th at 398.




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   also “supplied an intelligible principle to guide the [Bureau’s] discretion.”
   Gundy, 139 S. Ct. at 2123.
          The Plaintiffs assert that “[t]here is no intelligible principle” behind
   the Bureau’s “vague and sweeping” rulemaking authority. We disagree. In
   the Act, Congress articulated its general policy preferences, established the
   Bureau as the agency to apply them, and set boundaries—albeit broad ones—
   on the Bureau’s rulemaking authority. Am. Power & Light Co., 329 U.S. at
   105. Given that the Supreme Court “has over and over upheld even very
   broad delegations,” Gundy, 139 S. Ct. at 2129, the Act’s delegation of
   rulemaking authority to the Bureau passes muster.
          Congress’s general policy is distilled in the Bureau’s purpose and
   objectives.   12 U.S.C. § 5511(a)–(b).     The Bureau’s “purpose” is “to
   implement and, where applicable, enforce Federal consumer financial law
   consistently for the purpose of ensuring that all consumers have access to
   markets for consumer financial products and services and that markets for
   consumer financial products and services are fair, transparent, and
   competitive.”    Id. § 5511(a).     That purpose is accompanied by five
   “objectives” toward which “[t]he Bureau is authorized to exercise its
   authorit[y.]” Id. § 5511(b). One of those is to “ensur[e] that . . . consumers
   are protected from unfair, deceptive, or abusive acts and practices.” Id.
   § 5511(b)(2). In line with that objective, Congress empowered the Bureau to
   “prescribe rules applicable to a covered person or service provider
   identifying as unlawful unfair, deceptive, or abusive acts or practices in
   connection with any transaction with a consumer for a consumer financial
   product or service, or the offering of a consumer financial product or
   service.” Id. § 5531(b). Congress then circumscribed that authority by




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   including specific criteria that must be met before the Bureau can label a
   practice “unfair” or “abusive.” See id. § 5531(c)–(d). 7
           Far from an “open-ended delegation” that offers “no guidance
   whatsoever,” Jarkesy v. SEC, 34 F.4th 446, 462 (5th Cir. 2022) (emphasis
   omitted), Congress’s grant of rulemaking authority to the Bureau was
   accompanied by a specific purpose, objectives, and definitions to guide the
   Bureau’s discretion. This was more than sufficient to confer an “intelligible
   principle.” See Whitman v. Am. Trucking Ass’n, 531 U.S. 457, 474–75 (2001)
   (compiling the various directives the Supreme Court has deemed sufficient
   to constitute an “intelligible principle”).
                                               D.
           Finally, the Plaintiffs contend that the Payday Lending Rule is invalid
   because the Bureau’s funding structure violates the Appropriations Clause
   of the Constitution and the separation of powers principles enshrined in it.
   Though the constitutionality of the Bureau has been heavily litigated, this
   issue has yet to be definitively resolved. In Seila Law, the Supreme Court
   determined that the Act’s presidential removal restriction violated the
   Constitution’s separation of powers, but the Court did not confront whether


           7
             We discussed the statutory elements of “unfairness” supra in II.A.1. It was
   unnecessary to address “abusiveness” there. See supra n.1. For reference here, an act or
   practice is “abusive” if it
           (1) materially interferes with the ability of a consumer to understand a term
           or condition of a consumer financial product or service; or (2) takes
           unreasonable advantage of—(A) a lack of understanding on the part of the
           consumer of the material risks, costs, or conditions of the product or
           service; (B) the inability of the consumer to protect the interests of the
           consumer in selecting or using a consumer financial product or service; or
           (C) the reasonable reliance by the consumer on a covered person to act in
           the interests of the consumer.
   12 U.S.C. § 5531(d).




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   the Bureau’s unique funding scheme does. 140 S. Ct. at 2197. And a majority
   of this court recently concluded that the issue was not properly before us in
   another case challenging the Bureau’s structure and authority. See CFPB v.
   All Am. Check Cashing, Inc., 33 F.4th 218, 220 & n.2 (5th Cir. 2022) (en banc).
   However, Judge Jones, in a magisterial separate opinion joined by several
   of our colleagues, disagreed and addressed the parties’ Appropriations
   Clause challenge. See id. at 221 (Jones, J., concurring). Methodically
   analyzing the question, she concluded that the Bureau’s funding mechanism
   contravenes the Constitution’s separation of powers. Id. at 242.
          The issue is squarely raised here. We reach the same conclusion.
                                           1.
          Our “system of separated powers and checks and balances established
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   safeguard against the encroachment or aggrandizement of one branch at the
   expense of the other.’” Morrison v. Olson, 487 U.S. 654, 693 (1988) (quoting
   Buckley v. Valeo, 424 U.S. 1, 122 (1976)). “If there is one aspect of the
   doctrine of Separation of Powers that the Founding Fathers agreed upon, it
   is the principle, as Montesquieu stated it: B*+- 1 )//# 0. *!+*2 -6$/
   is necessary that by the very disposition of things, power should be a check to
   power.’” United States v. Cox, 342 F.2d 167, 190 (5th Cir. 1965) (Wisdom,
   J., concurring) (quoting Baron de Montesquieu, The Spirit of
   the Laws bk. XI, ch. IV (1772)). On that foundation, the Framers erected
   the three branches of government—legislative, executive, and judicial—and
   endowed each with “the necessary constitutional means and personal
   motives to resist encroachments of the others.” The Federalist No.
   51 (J. Madison); see U.S. Const. art. I, § 1; id. art. II, § 1, cl. 1; id. art. III,
   § 1.




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           Drawing on the British experience, the Framers “carefully
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   Congress alone the power of the purse.” Tex. Educ. Agency v. U.S. Dep’t of
   Educ., 992 F.3d 350, 362 (5th Cir. 2021). 8 The Framers’ reasoning was
   twofold. First, they viewed Congress’s exclusive “power over the purse” as
   an indispensable check on “the overgrown prerogatives of the other branches
   of the government.” The Federalist No. 58 (J. Madison). Indeed,
   “the separation of purse and sword was the Federalists’ strongest rejoinder
   to Anti-Federalist fears of a tyrannical president.” Josh Chafetz,
   Congress’s Constitution, Legislative Authority and
   the Separation of Powers 57 (2017).
           The Framers also believed that vesting Congress with control over
   fiscal matters was the best means of ensuring transparency and accountability
   to the people. See The Federalist No. 48 (J. Madison) (“[T]he
   legislative department alone has access to the pockets of the people.”). 9 As


           8
            As Alexander Hamilton explained, the powers of “the sword and the purse”
   should never be placed
           in either the Legislative or Executive, singly; neither one nor the other
           shall have both; because this would destroy that division of powers on
           which political liberty is founded, and would furnish one body with all the
           means of tyranny. But when the purse is lodged in one branch, and the
           sword in another, there can be no danger.
   2 The Works of Alexander Hamilton 61 (Henry Cabot Lodge ed., 1904).
   George Mason expressed the same sentiment, advising his colleagues at the Philadelphia
   Convention that “[t]he purse & the sword ought never to get into the same hands.” 1 The
   Records of the Federal Convention of 1787, at 139–40 (M. Farrand ed. 1937).
           9
            See also 3 The Records of the Federal Convention of 1787, at 149–
   50 (M. Farrand ed. 1937) (statement of James McHenry) (“When the Public Money is
   lodged in its Treasury there can be no regulation more consist[e]nt with the Spirit of
   Economy and free Government that it shall only be drawn forth under appropriation by
   Law and this part of the proposed Constitution could meet with no opposition as the People
   who give their Money ought to know in what manner it is expended.”).




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   James Madison explained, the “power over the purse may, in fact, be
   regarded as the most complete and effectual weapon with which any
   constitution can arm the immediate representatives of the people, for
   obtaining a redress of every grievance, and for carrying into effect every just
   and salutary measure.” The Federalist No. 58 (J. Madison). 10
           The     text    of    the    Constitution      reflects    these     foundational
   considerations. First, even before enumerating how legislation becomes law
   (i.e., passage by both houses of Congress and presentment to the President
   for signature), the Constitution provides that “[a]ll Bills for raising Revenue
   shall originate in the House of Representatives . . . .” U.S. Const. art. I,
   § 7, cl. 1. It then grants the general authority “[t]o lay and collect Taxes”
   and spend public funds for various ends—the first power positively granted
   to Congress by the Constitution. Id. art. I, § 8, cl. 1. Importantly though,
   that general grant of spending power is cabined by the Appropriations Clause
   and its follow-on, the Public Accounts Clause: “No money shall be drawn
   from the Treasury, but in Consequence of Appropriations made by Law; and
   a regular Statement and Account of the Receipts and Expenditures of all
   public Money shall be published from time to time.” Id. art. I, § 9, cl. 7.




           10
               Indeed, popular accountability for the expenditure of public funds was so
   important that an earlier draft of the Constitution restricted the power to originate
   appropriations to the House of Representatives: “[A]ll Bills for raising or Appropriating
   Money, and for fixing the Salaries of the Officers of the Government of the United States
   shall originate in the first Branch of the Legislature of the United States, and shall not be
   altered or amended by the second Branch; and that no money shall be drawn from the public
   Treasury but in Pursuance of Appropriations to be originated by the first Branch.” 2 The
   Records of the Federal Convention of 1787, at 129–34 (M. Farrand ed. 1937).
   Although not carried forward in the Appropriations Clause as ratified, this procedure is
   well-established in Congressional custom, which requires general appropriations bills to
   originate in the House of Representatives. Clarence Cannon, Cannon’s
   Procedure in the House of Representatives 20, § 834 (4th ed. 1944).




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          The    Appropriations     Clause’s    “straightforward     and    explicit
   command” ensures Congress’s exclusive power over the federal purse. OPM
   v. Richmond, 496 U.S. 414, 424 (1990). Critically, it makes clear that “[a]ny
   exercise of a power granted by the Constitution to one of the other branches
   of Government is limited by a valid reservation of congressional control over
   funds in the Treasury.” Id. at 425. Of equal importance is what the clause
   “takes away from Congress:           the option not to require legislative
   appropriations prior to expenditure.” Kate Stith, Congress’ Power of the
   Purse, 97 Yale L.J. 1343, 1349 (1988). Given that the executive is forbidden
   from unilaterally spending funds, the actual exercise by Congress of its power
   of the purse is imperative to a functional government. The Appropriations
   Clause thus does more than reinforce Congress’s power over fiscal matters;
   it affirmatively obligates Congress to use that authority “to maintain the
   boundaries between the branches and preserve individual liberty from the
   encroachments of executive power.” All Am. Check Cashing, 33 F.4th at 231
   (Jones, J., concurring).
          The Appropriations Clause thus embodies the Framers’ objectives of
   maintaining “the necessary partition among the several departments,” The
   Federalist No. 51 (J. Madison), and ensuring transparency and
   accountability between the people and their government. The clause’s role
   as “a bulwark of the Constitution’s separation of powers” has been
   repeatedly affirmed. U.S. Dep’t of Navy v. Fed. Lab. Rels. Auth., 665 F.3d
   1339, 1347 (D.C. Cir. 2012) (Kavanaugh, J.); see id. (“The Appropriations
   Clause prevents Executive Branch officers from even inadvertently
   obligating the Government to pay money without statutory authority.”)
   (citations omitted); see also, e.g., Sierra Club v. Trump, 929 F.3d 670, 704 (9th
   Cir. 2019) (“The Appropriations Clause is a vital instrument of separation of
   powers . . . .”); City of Chicago v. Sessions, 888 F.3d 272, 277 (7th Cir. 2018)
   (discussing the power of the purse as an important aspect of the separation




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   of powers created by “[t]he founders of our country”); United States v.
   McIntosh, 833 F.3d 1163, 1175 (9th Cir. 2016) (“The Appropriations Clause
   plays a critical role in the Constitution’s separation of powers among the
   three branches of government and the checks and balances between them.”).
   As Justice Story said:
          The object is apparent upon the slightest examination. It is to
          secure regularity, punctuality, and fidelity, in the
          disbursements of the public money . . . . If it were otherwise,
          the executive would possess an unbounded power over the
          public purse of the nation; and might apply all its moneyed
          resources at his pleasure. The power to control and direct the
          appropriations, constitutes a most useful and salutary check
          upon profusion and extravagance, as well as upon corrupt
          influence and public peculation.
   2 Joseph Story, Commentaries on the Constitution of
   the United States § 1348 (3d ed. 1858). Justice Scalia similarly
   observed that, while the requirement that funds be disbursed in accord with
   Congress’s dictate and Congress’s alone may be inconvenient, “clumsy,” or
   D$) !!$$ )/6E$/D- !' /N.OB#-#*$ . . . . consciously made by men who
   had lived under a form of government that permitted arbitrary governmental
   acts to go unchecked.’” NLRB v. Noel Canning, 573 U.S. 513, 601–02 (2014)
   (Scalia, J., concurring) (quoting INS v. Chadha, 462 U.S. 919, 959 (1983)). In
   short, the Appropriations Clause expressly “was intended as a restriction
   upon the disbursing authority of the Executive department.” Cincinnati Soap
   Co. v. United States, 301 U.S. 308, 321 (1937).
                                         2.
          All that in mind, we turn to the Bureau’s structure. The Bureau
   “wields vast rulemaking, enforcement, and adjudicatory authority over a
   significant portion of the U.S. economy.” Seila Law, 140 S. Ct. at 2191.
   “The agency has the authority to conduct investigations, issue subpoenas




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   and civil investigative demands, initiate administrative adjudications, and
   prosecute civil actions in federal court.” Id. at 2193. The Bureau “may seek
   restitution, disgorgement, and injunctive relief, as well as civil penalties of up
   to $1,000,000 (inflation adjusted) for each day that a violation occurs.” Id.
   Unlike nearly every other administrative agency, Congress placed this
   “staggering amalgam of legislative, judicial, and executive power in the hands
   of a single Director” rather than a multimember board or commission. All
   Am. Check Cashing, 33 F.4th at 221–22 (Jones, J., concurring); see 12 U.S.C.
   § 5491(b).
           Most anomalous is the Bureau’s self-actualizing, perpetual funding
   mechanism. While the great majority of executive agencies rely on annual
   appropriations for funding, the Bureau does not. See 12 U.S.C. § 5497(a).
   Instead, each year, the Bureau simply requisitions from the Federal Reserve
   an amount “determined by the Director to be reasonably necessary to carry
   out” the Bureau’s functions. 11 Id. The Federal Reserve must grant that
   request so long as it does not exceed 12% of the Federal Reserve’s “total
   operating expenses.” 12 U.S.C. § 5497(a)(1)–(2). 12 The funds siphoned by


           11
             As noted, in addition to the funds it draws from the Federal Reserve, the Bureau
   is empowered to impose significant monetary penalties through administrative
   adjudications and civil actions. 12 U.S.C. § 5565(a)(2). Those penalties, when levied, are
   deposited into a “Civil Penalty Fund,” expenditures from which are restricted “for
   payments to the victims of activities for which civil penalties have been imposed under the
   Federal consumer financial laws.” Id. § 5497(d)(1)–(2). “To the extent that such victims
   cannot be located or such payments are otherwise not practicable, the Bureau may use such
   funds for the purpose of consumer education and financial literacy programs.” Id.
   § 5497(d)(2). As Civil Penalty Fund balances cannot be used to defray the Bureau’s general
   expenses, they do not factor into our analysis here.
           12
              This is no insubstantial amount. In fiscal year 2022, for example, the Bureau
   could demand up to $734 million from the Federal Reserve. Consumer Financial
   Protection Bureau, Annual performance plan and report, and budget overview (Feb. 2022),
   https://files.consumerfinance.gov/f/documents/cfpb_performance-plan-and-
   report_fy22.pdf.




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   the Bureau, in effect, reduce amounts that would otherwise flow to the
   general fund of the Treasury, as the Federal Reserve is required to remit
   surplus funds in excess of a limit set by Congress.                   See 12 U.S.C.
   § 289(a)(3)(B).
           The Bureau thus “receives funding directly from the Federal Reserve,
   which is itself outside the appropriations process through bank
   assessments.” Seila Law, 140 S. Ct. at 2194; see 12 U.S.C. § 5497(a). 13 So
   Congress did not merely cede direct control over the Bureau’s budget by
   insulating it from annual or other time limited appropriations. It also ceded
   indirect control by providing that the Bureau’s self-determined funding be
   drawn from a source that is itself outside the appropriations process—a
   double insulation from Congress’s purse strings that is “unprecedented”
   across the government. All Am. Check Cashing, 33 F.4th at 225 (Jones, J.,
   concurring). And where the Federal Reserve at least remains tethered to the
   Treasury by the requirement that it remit funds above a statutory limit,
   Congress cut that tether for the Bureau, such that the Treasury will never
   regain one red cent of the funds unilaterally drawn by the Bureau.
           This novel cession by Congress of its appropriations power—its very
   obligation “to maintain the boundaries between the branches,” id. at 231—
   is in itself enough to give grave pause. But Congress went to even greater
   lengths to take the Bureau completely off the separation-of-powers books.
   Indeed, it is literally off the books: Rather than hold funds in a Treasury
   account, the Bureau maintains “a separate fund, . . . /#  Bʪ0- 0 *!



           13
             The Federal Reserve is funded through interest earned on the securities it owns
   and assessments the agency levies on banks within the Federal Reserve system. Federal
   Reserve, The Fed Explained: What the Central Bank Does, at 4 (2021),
   https://www.federalreserve.gov/aboutthefed/files/the-fed-explained.pdf; see also 12
   U.S.C. § 243.




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   Consumer Financial Protection Fund,’” which “shall be maintained and
   established at a Federal [R]eserve bank.” 12 U.S.C. § 5497(b)(1). This fund
   is “under the control of the Director,” and the monies on deposit are
   permanently available to him without any further act of Congress. Id.
   § 5497(c)(1). Thus, contra the Federal Reserve, id. § 289(a)(3)(B), the
   Bureau may “roll over” the self-determined funds it draws ad infinitum.
           To underscore the point, the Act explicitly states that “[f]unds
   obtained by or transferred to the Bureau Fund shall not be construed to be
   Government funds or appropriated monies.”                    Id. § 5497(c)(2).       To
   underscore it again, Congress expressly renounced its check “as a restriction
   upon the disbursing authority of the Executive department,” Cincinnati
   Soap, 301 U.S. at 321, by legislating that “funds derived from the Federal
   Reserve System . . . shall not be subject to review by the Committees on
   Appropriations of the House of Representatives and the Senate.” Id.
   § 5497(a)(2)(C).
           So the Bureau’s funding is double-insulated on the front end from
   Congress’s appropriations power. And Congress relinquished its jurisdiction
   to review agency funding on the back end. In between, Congress gave the
   Director its purse containing an off-books charge card that rings up
   “[un]appropriated monies.” Wherever the line between a constitutionally
   and unconstitutionally funded agency may be, this unprecedented
   arrangement crosses it.14           The Bureau’s perpetual insulation from




           14
             JUDGE JONES emphasized the perpetual nature of the funding mechanism and
   opined that an appropriation must be time-limited. See All Am. Check Cashing, 33 F.4th at
   238 (“[T]he separation of powers idea underlying the Framers’ assignment of fiscal
   matters to Congress requires a time limitation for appropriations to the executive
   branch.”). We need not decide whether perpetuity of funding alone would be enough to
   render the Bureau’s funding mechanism unconstitutional. Rather, the Bureau’s funding




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   Congress’s appropriations power, including the express exemption from
   congressional review of its funding, renders the Bureau “no longer
   dependent and, as a result, no longer accountable” to Congress and,
   ultimately, to the people. All Am. Check Cashing, 33 F.4th at 232 (Jones, J.,
   concurring); see id. at 234 (detailing examples showing that the Bureau’s
   “lack of accountability is not just a theoretical worry”). By abandoning its
   “most complete and effectual” check on “the overgrown prerogatives of the
   other branches of the government”—indeed, by enabling them in the
   Bureau’s case—Congress ran afoul of the separation of powers embodied in
   the Appropriations Clause. See The Federalist No. 58 (J. Madison).
           The constitutional problem is more acute because of the Bureau’s
   capacious portfolio of authority. “It acts as a mini legislature, prosecutor,
   and court, responsible for creating substantive rules for a wide swath of
   industries, prosecuting violations, and levying knee-buckling penalties
   against private citizens.” Seila Law, 140 S. Ct. at 2202 n.8. And the
   “Director’s      newfound       presidential     subservience       exacerbates      the
   constitutional     problem[]      arising    from     the    [Bureau’s]      budgetary
   independence.”        All Am. Check Cashing, 33 F.4th at 234 (Jones, J.,
   concurring). An expansive executive agency insulated (no, double-insulated)
   from Congress’s purse strings, expressly exempt from budgetary review, and
   headed by a single Director removable at the President’s pleasure is the
   epitome of the unification of the purse and the sword in the executive—an
   abomination the Framers warned “would destroy that division of powers on
   which political liberty is founded.” 2 The Works of Alexander
   Hamilton 61 (Henry Cabot Lodge ed., 1904).




   scheme—including the perpetual funding feature—is so egregious that it clearly runs afoul
   of the Appropriations Clause’s requirements.




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          The Bureau’s arguments to the contrary are unconvincing. First, it
   contends that there is no constitutional infirmity because its funding scheme
   was enacted by Congress. In essence, the Bureau contends that because
   Congress spun the agency’s funding mechanism into motion when it passed
   the Act, voila!—the Appropriations Clause is satisfied. The Bureau’s
   argument misreads not only Supreme Court precedent but also the plain text
   of the Appropriations Clause.
          Start with the clause’s text: “No money shall be drawn from the
   Treasury, but in Consequence of Appropriations made by law.” U.S. Const.
   art I, § 9, cl. 7 (emphasis added).        A law alone does not suffice—an
   appropriation is required. Otherwise, why not simply travel under the general
   procedures for enacting legislation provided elsewhere in Article I? The
   answer is that spending only “in Consequence of Appropriations made by
   law” is additive to mere enabling legislation; appropriations are required to
   meet the Framers’ salutary aims of separating and checking powers and
   preserving accountability to the people. The Act itself tacitly admits such a
   distinction in its decree that “[f]unds obtained by or transferred to the
   Bureau Fund shall not be construed to be . . . appropriated monies.” 12
   U.S.C. § 5497(c)(2). We take Congress at its word. But that is the rub.
          The Bureau relies on the Supreme Court’s statement that the
   Appropriations Clause “means simply that no money can be paid out of the
   Treasury unless it has been appropriated by an act of Congress.” Richmond,
   496 U.S. at 424 (quoting Cincinnati Soap, 301 U.S. at 321). But neither
   Richmond nor Cincinnati Soap purported definitively to map the contours of
   the Appropriations Clause. Regardless, Congress’s mere enactment of a law,
   by itself, does not satisfy the clause’s requirements. Otherwise, the Bureau’s
   position means that no federal statute could ever violate the Appropriations
   Clause because Congress, by definition, enacts them. As discussed supra, our
   Constitution’s structural separation of powers teaches us that cannot be so.



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   Cf. New York v. United States, 505 U.S. 144, 182 (1992) (“The Constitution’s
   division of power among the three branches is violated where one branch
   invades the territory of another, whether or not the encroached-upon branch
   approves the encroachment.”).
           The converse argument, that Congress can alter the Bureau’s
   perpetual self-funding scheme anytime it wants, curing any infirmity, is
   likewise unavailing. “Congress is always capable of fixing statutes that
   impinge on its own authority, but that possibility does not excuse the
   underlying constitutional problems. Otherwise, no law could run afoul of
   Article I.” All Am. Check Cashing, 33 F.4th at 238 (Jones, J. concurring); cf.
   PHH Corp. v. CFPB, 881 F.3d 75, 158 (D.C. Cir. 2018) (en banc) (Henderson,
   J., dissenting) (“[A]n otherwise invalid agency is no less invalid merely
   because the Congress can fix it at some undetermined point in the future.”),
   abrogated on other grounds by Seila Law, 140 S. Ct. 2183.
           The Bureau also contends that because every court to consider its
   funding structure has deemed it constitutionally sound, we should too. 15 But
   carefully considering those decisions, we must respectfully disagree with
   their conclusion. Those courts found the constitutional scale tipped in the
   Bureau’s favor based largely on one factor: a handful of other agencies are
   also self-funded. For instance, the D.C. Circuit emphasized that “Congress
   has consistently exempted financial regulators from appropriations: The
   Federal Reserve, the Federal Deposit Insurance Corporation, the Office of


           15
              See, e.g., PHH Corp., 881 F.3d at 95–96; CFPB v. Citizens Bank, N.A., 504 F.
   Supp. 3d 39, 57 (D.R.I. 2020); CFPB v. Fair Collections & Outsourcing, Inc., No. 8:19-cv-
   2817, 2020 WL 7043847, at *7-9 (D. Md. Nov. 30, 2020); CFPB v. Think Finance LLC, No.
   17-cv-127, 2018 WL 3707911, at *1-2 (D. Mont. Aug. 3, 2018); CFPB v. Navient Corp., No.
   3:17-cv-101, 2017 WL 3380530, at *16 (M.D. Pa. Aug. 4, 2017); CFPB v. ITT Educ. Services,
   Inc., 219 F. Supp. 3d 878, 896-97 (S.D. Ind. 2015); CFPB v. Morgan Drexen, Inc., 60 F. Supp.
   3d 1082, 1089 (C.D. Cal. 2014).




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   the Comptroller of the Currency, the National Credit Union Administration,
   and the Federal Housing Finance Agency all have complete, uncapped
   budgetary autonomy.” PHH Corp., 881 F.3d at 95.
           Such a comparison, focused only on whether other agencies possess a
   degree of budgetary autonomy, mixes apples with oranges.                       Or, more
   accurately, with a grapefruit. Even among self-funded agencies, the Bureau
   is unique. The Bureau’s perpetual self-directed, double-insulated funding
   structure goes a significant step further than that enjoyed by the other
   agencies on offer. And none of the agencies cited above “wields enforcement
   or regulatory authority remotely comparable to the authority the [Bureau]
   may exercise throughout the economy.” All Am. Check Cashing, 33 F.4th at
   237 (Jones, J., concurring); see also William Simpson, Above Reproach: How
   the Consumer Financial Protection Bureau Escapes Constitutional Checks &
   Balances, 36 Rev. Banking & Fin. L. 343, 367–69 (2016). 16 Taken
   together, the Bureau’s express insulation from congressional budgetary
   review, single Director answerable to the President, and plenary regulatory
   authority combine to render the Bureau “an innovation with no foothold in


           16
             Neither is the Bureau’s structure comparable to mandatory spending programs
   such as Social Security. The Bureau self-directs how much money to draw from the
   Federal Reserve; the Social Security Administration (SSA) exercises no similar discretion.
   Compare 12 U.S.C. § 5497(a)(1) (creating Bureau funding mechanism) with 42 U.S.C. § 415
   (setting parameters for Social Security benefit levels). Quite to the contrary, SSA pays
   amounts Congress has determined to beneficiaries whom Congress has identified. See 42
   U.S.C. § 415 (identifying amounts); 42 U.S.C. § 402 (identifying eligible individuals). The
   Executive Branch’s power over “automatic” Social Security spending is therefore purely
   ministerial. Furthermore, Congress retains control over the SSA via the agency’s annual
   appropriations. See, e.g., Social Security Administration, Justification
   of Estimates for Appropriations Committees | Fiscal Year 2023
   (2022), https://www.ssa.gov/budget/FY23Files/FY23-JEAC.pdf.                 Other benefits
   payments, including Medicare and Medicaid, the Supplemental Nutrition Assistance
   Program, and Temporary Assistance for Needy Families, are administered similarly by
   agencies subject to annual appropriations set by Congress.




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   history or tradition.” Seila Law, 140 S. Ct. at 2202. It is thus no surprise that
   the Bureau “brought to the forefront the subject of agency self-funding, a
   topic previously relegated to passing scholarly references rather than front-
   page news.” Charles Kruly, Self-Funding and Agency Independence, 81 Geo.
   Wash. L. Rev. 1733, 1735 (2013).
          We cannot sum up better than Judge Jones did:
          [T]he [Bureau]’s argument for upholding its funding
          mechanism admits no limiting principle. Indeed, if the
          [Bureau]’s funding mechanism is constitutional, then what
          would stop Congress from similarly divorcing other agencies
          from the hurly burly of the appropriations process? . . . [T]he
          general threat to the Constitution’s separation of powers and
          the particular threat to Congress’s supremacy over fiscal
          matters are obvious. Congress may no more lawfully chip away
          at its own obligation to regularly appropriate money than it may
          abdicate that obligation entirely. If the [Bureau]’s funding
          mechanism survives this litigation, the camel’s nose is in the
          tent. When conditions are right, the rest will follow.

   All Am. Check Cashing, 33 F.4th at 241 (Jones, J., concurring). The Bureau’s
   funding apparatus cannot be reconciled with the Appropriations Clause and
   the clause’s underpinning, the constitutional separation of powers.
                                          3.
          That leaves the question of remedy. Though Collins is not precisely
   on point, we follow its framework because, though that case involved an
   unconstitutional removal provision, we read its analysis as instructive for
   separation-of-powers cases more generally. See Collins, 141 S. Ct. at 1787–
   88; cf. All Am. Check Cashing, 33 F.4th at 241 (Jones, J., concurring) (finding
   Collins “inapt” for determining a remedy for the Bureau’s “budgetary
   independence”).




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          Collins clarified a dichotomy between agency actions that involve “a
   Government actor’s exercise of power that the actor did not lawfully
   possess” and those that do not. 141 S. Ct. at 1787–88. Examples of the
   former include actions taken by an unlawfully appointed official, see Lucia v.
   SEC, 138 S. Ct. 2044, 2055 (2018); a legislative officer’s exercise of executive
   power, see Bowsher v. Synar, 478 U.S. 714, 727–36 (1986); and the President’s
   exercise of legislative power, see Clinton v. City of New York, 524 U.S. 417,
   438 (1998). The remedy in those cases, invalidation of the unlawful actions,
   flows “directly from the government actor’s lack of authority to take the
   challenged action in the first place.” All Am. Check Cashing, 33 F.4th at 241
   (Jones, J., concurring).
          In contrast, the Court found the separation of powers problem posed
   by an official’s unlawful insulation from removal to be different. Collins, 141
   S. Ct. 1787–88. Unlike the above examples, such a provision “does not strip”
   a lawfully appointed government actor “of the power to undertake the other
   responsibilities of his office.” Id. at 1788. Thus, as discussed supra in II.B.,
   to obtain a remedy, a plaintiff must prove more than the existence of an
   unconstitutional provision; she must prove that the challenged action
   actually “inflicted harm.” Id. at 1789.
          Into which category does the Bureau’s promulgation of the Payday
   Lending Rule fall, given the agency’s unconstitutional self-funding scheme?
   The answer turns on the distinction between the Bureau’s power to take the
   challenged action and the funding that would enable the exercise of that
   power. Put differently, Congress plainly (and properly) authorized the
   Bureau to promulgate the Payday Lending Rule, see 12 U.S.C. §§ 5511(a),
   5512(b), as discussed supra in II.A–C.          But the agency lacked the
   wherewithal to exercise that power via constitutionally appropriated funds.
   Framed that way, the Bureau’s unconstitutional funding mechanism “[did]
   not strip the [Director] of the power to undertake the other responsibilities



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   of his office,” Collins, 141 S. Ct. at 1788 & n.23, but it deprived the Bureau of
   the lawful money necessary to fulfill those responsibilities.                  This is a
   distinction with more than a semantical difference, as it leads us to conclude
   that, consistent with Collins, the Plaintiffs are not entitled to per se
   invalidation of the Payday Lending Rule, but rather must show that “the
   unconstitutional . . . [funding] provision inflicted harm.” Id. at 1788–89.
           However, making that showing is straightforward in this case.
   Because the funding employed by the Bureau to promulgate the Payday
   Lending Rule was wholly drawn through the agency’s unconstitutional
   funding scheme, 17 there is a linear nexus between the infirm provision (the
   Bureau’s funding mechanism) and the challenged action (promulgation of
   the rule). In other words, without its unconstitutional funding, the Bureau
   lacked any other means to promulgate the rule. Plaintiffs were thus harmed
   by the Bureau’s improper use of unappropriated funds to engage in the
   rulemaking at issue. Indeed, the Bureau’s unconstitutional funding structure
   not only “affected the complained-of decision,” id. at 1801 (Kagan, J.,
   concurring in part), it literally effected the promulgation of the rule. Plaintiffs
   are therefore entitled to “a rewinding of [the Bureau’s] action.” Id.
           In considering other violations of the Constitution’s separation of
   powers, the Supreme Court has rewound the unlawful action by granting a
   new hearing, see Lucia v. SEC, 138 S. Ct. 2044, 2055 (2018), or invalidating


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              It is fairly apparent that the Bureau financed its rulemaking efforts with funds
   requisitioned via its unconstitutional funding mechanism. Cf. supra n.11. A Bureau report
   indicates that it spent over $9 million for “Research, Markets & Regulations” during the
   fiscal quarter in which the rule was issued. See Consumer Protection Financial
   Bureau, CFO update for the first quarter of fiscal year 2018 (2018),
   https://files.consumerfinance.gov/f/documents/cfpb_cfo-update_fy2018Q1.pdf. More
   granular information does not appear to be publicly available, perhaps a direct consequence
   of the Bureau’s unprecedented budgetary independence and lack of Congressional
   oversight.




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   an order, see NLRB v. Noel Canning, 573 U.S. 513, 521, 557 (2014); see also 5
   U.S.C. § 706(2)(A) (providing that, under the APA, a “reviewing court
   shall . . . hold unlawful and set aside agency action . . . found to be . . . not in
   accordance with law”). In like manner, we conclude that the district court
   erred in granting summary judgment to the Bureau and in denying the
   Plaintiffs a summary judgment “holding unlawful, enjoining and setting
   aside” the challenged rule. Accordingly, we render judgment in favor of the
   Plaintiffs on this claim and vacate the Payday Lending Rule as the product of
   the Bureau’s unconstitutional funding scheme.
                                          III.
          The Bureau did not exceed its authority under either the Act or the
   APA in promulgating its 2017 Payday Lending Rule. The issuing Director’s
   unconstitutional insulation from removal does not in itself invalidate the rule,
   and the Plaintiffs fail to demonstrate cognizable harm from that injury. Nor
   does the Bureau’s rulemaking authority transgress the nondelegation
   doctrine. We therefore AFFIRM the district court’s entry of summary
   judgment in favor of the Bureau in part.
          But Congress’s cession of its power of the purse to the Bureau violates
   the Appropriations Clause and the Constitution’s underlying structural
   separation of powers. The district court accordingly erred in granting
   summary judgment in favor of the Bureau and denying judgment in favor of
   the Plaintiffs. We therefore REVERSE the judgment of the district court
   on that issue, RENDER judgment in favor of the Plaintiffs, and VACATE
   the Bureau’s Payday Lending Rule.
             AFFIRMED in part; REVERSED in part; and RENDERED.




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